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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KAREN BROOKINS individually and                 : CIVIL ACTION
 as Administratix of the Estate of Marcus        :
 Richard Boone                                   :
                                                 :
                       v.                        : NO. 24-470
                                                 :
 THE CITY OF PHILADELPHIA, P.O.                  :
 CHRISTOPHER CULVER, DET.                        :
 WALSH, and CAPT. LUCA                           :


                                      MEMORANDUM
KEARNEY, J.                                                                     December 10, 2024

       Karen Brookins’s adult son Marcus Boone had long suffered with mental illness and drug

addiction when he walked onto the ledge of a highway overpass one morning in March 2022

declaring he wanted to end his life. Philadelphia Police officers talked with Mr. Boone for almost

three hours. They eventually persuaded him to walk to the end of the overpass hoping he would

sit down with them and discuss his concerns. He never sat down. Mr. Boone instead dove headfirst

onto the side of the road below him. He passed away at the hospital a few hours later. One officer

inexcusably used his cell phone to take a picture of Mr. Boone suffering on the ground. He then

broadcasted his recklessness by immediately circulating this photo to friends.

       Karen Brookins began asking questions the next day about her son’s last hours. The police

allegedly claimed they did not have body camera footage. Ms. Brookins continued asking around.

Someone sent Ms. Brookins the photograph of her son over Facebook nine days after his passing.

She saw the photo again when she visited a gas station near the overpass. Ms. Brookins first sued

the officer and the City for violating her privacy rights through the photograph and then amended

(after the statute of limitations expired) challenging the officers’ conduct (and the City’s policies)

she claims led to her son’s decision after she finally obtained the bodycam footage.
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       We allow Ms. Brookins to proceed on her otherwise untimely claim challenging the

officers’ conduct on the overpass finding fact questions about the officers’ fraudulent concealment

of the body camera footage. But, viewed in the context of two-and-a-half hours of bodycam

footage, there are no genuine issues of material fact precluding our finding three or four statements

by officers on the overpass allegedly within Mr. Boone’s hearing did not cause him to harm

himself. We are disturbed by the officer’s reprehensible decision to take and then circulate a picture

of the fatally injured Mr. Boone. But this officer could not have known his now-admitted reckless

lapse in judgment would violate Ms. Brookins’s privacy rights. He is entitled to judicially created

qualified immunity from constitutional scrutiny. Ms. Brookins also did not adduce evidence

allowing us to find the officer’s singularly reckless act arose from the City’s deficient training.

And Ms. Brookins cannot proceed on her state law emotional distress claim against the

photographing officer because she cites no evidence establishing his circulation of the photograph

caused her emotional distress. We grant the City and its officers’ motions for summary judgment.

                                I. Undisputed material facts

       Karen Brookins’s adult son Marcus Boone resided at some point at the Gaudenzia

Diagnostic Rehabilitation Center in Philadelphia for treatment of drug addiction and mental health

issues.1 Mr. Boone attempted to take his own life on at least six occasions before March 2022.2




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       Mr. Boone climbed onto the outer ledge of an overpass where Knights Road crosses over

Woodhaven Road in the Greater Northeast section of Philadelphia on a chilly March 18, 2022

morning in the area shown in the green and blue highlighted sections below.3




       He walked to the middle of the overpass directly above Woodhaven Road below and stood

on the outside of a fence separating him from the overpass on Knights Road:4




        Police officers talk to Mr. Boone for two and a half hours, eventually persuading him
                         to come away from the middle of the overpass.

       The Philadelphia Police Department sent twenty to thirty officers to the scene to talk to Mr.

Boone and control traffic and bystanders.5 Some of the officers worked with the Counterterrorism

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Unit and others worked as crisis negotiators.6 Police Officer Christopher Culver, a member of the

Counterterrorism Unit, arrived on the scene to assist with traffic control and stood approximately

thirty yards away from the negotiations on the overpass.7

       Detective Walsh arrived at the scene to gather information.8 He did not communicate

directly with Mr. Boone.9 Inspector (then Captain Luca), one of the officers primarily responsible

for negotiating with or speaking to Mr. Boone, interacted with Mr. Boone for almost the entire

three hours.10 Detective Rovnan also negotiated with Mr. Boone for most of the time and

eventually took the lead as Mr. Boone seemed to respond to him.11 Police officer Paul Andrews,

another officer with crisis training, captured footage of the incident with a body camera.12 His body

camera captured over two hours of the encounter between five to ten officers and Mr. Boone as

they tried to persuade him to come down from the ledge either by walking onto Knights Road or

coming down a firetruck ladder.13

       The officers did not know Mr. Boone and tried to find out his identity.14 They mistakenly

identified him as “Albert” and thought he used “Marcus Boone” as an alias.15 Mr. Boone eventually

told the officers his name, his birthday, and his mother’s name.16 Mr. Boone said his mother was

dead at one point and then later asked for her and said he saw her along the adjacent streets. 17 He

did not ask to speak to anyone besides his mother.18 He claimed to see some of his family members

several hundreds of yards away on the streets, calling for him.19 He told the officers he had mental

problems.20 Mr. Boone screamed many times he wanted the media present.21 He claimed the police

worked with organized crime families and wanted to kill him and/or members of his family. 22 He

claimed police held children hostage.23 He claimed police intended to blow up the overpass.24 He

screamed another country had taken over America.25 He repeatedly threatened to jump off the

overpass and told the officers he was not afraid to die.26 He screamed “shoot me bitch” three times



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to a female officer not near the body camera.27 He acted suspicious of new officers approaching

him, so the officers designated certain persons like Detective Rovnan to speak to him.28 He told

the officers the nature of our society caused him to have a terrible day.29 He said he had not taken

his medicine which helped calm him down so he did not hear voices.30 He took off his shirt on a

chilly March day and urinated through the fence onto the Knights Road overpass.31

       The officers interacting with Mr. Boone frequently told him no one wanted him to die, they

were not going to hurt him, and they had resources to help him.32 They told him he was not in

trouble.33 When Mr. Boone stated he had mental problems, Inspector Luca responded, “it’s fine.

There ain’t nobody on this earth that doesn’t have mental health problems. Everybody has them .

. . all four of us up here have issues.”34 Mr. Boone intermittently responded to the officers in a

manic fashion and lapsed into long periods of silence.35 Conversations picked up on the bodycam

confirmed the officers’ plan to engage Mr. Boone by talking to him about his life and their lives.36

They spoke to Mr. Boone about a Philadelphia Flyers trade the night before, nicknames, favorite

hobbies, a relationship to Philadelphia Phillies legendary catcher Bob Boone, and tattoos

(including whether one of the tattoos on Mr. Boone’s naked torso depicted his child’s name), while

attempting to wait out what they believed to be a high from some type of narcotic.37

                      Unidentified officers are less tolerant after some time.

       Some of the officers tried a different tactic after a while. They told Mr. Boone to stop being

silly and told him they could not help other people in need while he remained on the bridge.38

About forty-five minutes before he jumped, Mr. Boone told the officers he felt nervous, and, a

minute later, asked “if it’s gonna turn into a good day, why is it so hostile?”39 Around this time

Officer Andrews expressed doubts to Detective Rovnan about “the pressure they are putting on

him” and stated, “it’s just making things a little bit worse.”40 He also described the officers’ tactics



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as “a little bit too forceful.”41 The bodycam confirms some officers used inappropriate references

but Mr. Boone did not respond other than largely ignore them.42

       Some of the officers had side conversations caught on camera while Mr. Boone stood on

the ledge.43 They talked about Mr. Boone and other things.44 After Officer Andrews had been

recording for about two hours, Detective Walsh—whose responsibility was to gather

information—approached Officer Andrews and a couple of other officers.45 The officers discussed

whether anyone had contacted Mr. Boone’s wife or mother.46 Detective Walsh said they had tried

a number (it is unclear whose number they tried), but no one answered.47 Detective Walsh then

said to the officers—but not to Mr. Boone—“We did talk to the therapist . . . from that Gaudenzia

House, and she said she had to go [somewhere indistinguishable] . . . apparently he had a cocaine

addiction problem.”48

       A few minutes after Detective Walsh’s remarks about contacting Gaudenzia House, Officer

Andrews commented the officer negotiating with Mr. Boone seemed to be agitating him and asked

whether they should switch out.49 Detective Rovnan responded some of the officers who had been

sent to the scene lacked training, but he did not name a specific officer nor whether the officers

talking to Mr. Boone lacked training.50

 Mr. Boone eventually walks to the end of the ledge without fencing before harming himself.

       Detective Rovnan tried to get Mr. Boone to walk to the end of the ledge to get him off the

overpass.51 Mr. Boone asked Detective Rovnan for a Mountain Dew and a cigarette. 52 Detective

Rovnan repeatedly told Mr. Boone he would get him the soda and cigarette, but Mr. Boone would

need to walk to the end of the ledge (the part without a fence) to have a sit-down and talk things

out.53 Mr. Boone did not like this plan and refused to move, but promised to sit down with

Detective Rovnan on the side ledge if he could drink a Mountain Dew and have a cigarette.54



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Detective Rovnan told Mr. Boone he would trust his word and handed a Mountain Dew to him

over the fence.55 The officers arranged for an on-site fire truck ladder for Mr. Boone to come

down.56 They also planned (as confirmed on the body cam) to get Mr. Boone to walk to the end of

the ledge, where the safety fencing stopped, to get him off the overpass.57

       Mr. Boone’s tone and willingness to safely come off the ledge fluctuated. At certain points,

as reflected in the footage, every sign suggested Mr. Boone calmed down and would soon sit down

and talk to the officers on the ledge about getting help. For instance, the softer conversational

negotiation style of Detective Rovnan worked initially, and he succeeded in getting Mr. Boone to

walk to the end of the ledge.58 The officers asked and Mr. Boone confirmed he had a knife with

him.59 Mr. Boone agreed to give Detective Rovnan the blade so he could sit down with the officers

on the ledge without threatening their safety.60 He then handed the blade to Detective Rovnan.61

Mr. Boone reached the non-fenced portion of the ledge and turned around and faced the negotiating

officers on Knights Road.62 He spoke to them from the non-fenced ledge but would not sit down

on the ledge and talk to the officers.63




       The officers decided to not grab Mr. Boone while he stood on the cement ledge for fear he

would fall.64 They decided to wait him out until they thought they could safely grab him or he

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decided to sit down.65 Detective Rovnan told all the officers to back off and the officers backed off

several feet to give Mr. Boone time to sit down on the ledge.66

        We then hear the officers’ side conversations, and it does not appear (nor is there evidence)

Mr. Boone heard them. Detective Rovnan complained about being on the job and discussed car

detailing with Officer Andrews at least twenty feet away from where Mr. Boone stood on the

ledge.67 Detective Walsh, who had walked a few feet away, re-approached Officer Andrews and

Detective Rovnan.68 Someone asked Detective Walsh, “how you doing?” to which he responded

in a barely audible voice, “I’m enjoying this.”69 Detective Walsh and the other officers then

discussed house remodeling.70

        Mr. Boone stood facing the officers on Knights Road while Detective Walsh and the others

had this side conversation.71 The officers continued to wait for Mr. Boone to sit down since they

did not want to tackle or grab him while on the ledge.72 Mr. Boone seemingly became agitated

again while standing on the cement ledge.73 The officers moved closer to the ledge at this point

but still stood about fifteen feet away from where Mr. Boone stood.74 Mr. Boone turned back

around to face the shoulder of Woodhaven Road below him.75 Detective Rovnan said, “Marcus,

no! . . . I know it’s tough . . . Life’s worth it . . . what’s it going to take for you to come down for

me?”76 Mr. Boone responded, “I just want to die.”77 Officer Andrews and Detective Rovnan again

discussed trying to grab Mr. Boone (“We’re going to have to snatch him, I know it.”).78 Mr. Boone

then dove headfirst from the ledge on the overpass onto the Woodhaven Road shoulder area

below.79

        The officers and emergency personnel moved into action; they immediately commented

Mr. Boone survived his jump from the Knights Road overpass, but he sustained severe injuries.80

At least one officer remarked he appeared to be alive.81



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           Officer Culver uses his cell phone to photograph the injured Mr. Boone and then
                           circulate the photo to off-site coworkers.

       Counterterrorism Officer Culver (not involved in negotiations) leaned over the overpass

and took a photograph of Mr. Boone laying alongside Woodhaven Road.82 He sent the photograph

to nine officers in his unit at 11:47 a.m.83 Someone posted the photograph on the crime-reporting

app Citizens’ App.84 Ms. Brookins apparently never discovered who posted the reckless

photograph online.

                     Ms. Brookins tries to find out what happened to her son.

       Ms. Brookins did not make it to the ledge as she was on her way to see her incarcerated

husband at State Correctional Institution Phoenix in Montgomery County.85 She learned her son

might be the person on the overpass when her niece sent her a text message and a photograph of

the situation.86 She later learned on-site emergency personnel had taken her son to the hospital.87

She went to the hospital to see her son.88 Doctors told her Mr. Boone had catastrophic injuries, but

they were still working on him.89 Mr. Boone passed away in the hospital at 2:15 p.m.90

       Ms. Brookins went to work to find out what happened beginning the next day. She spoke

to people from the Police Department, including Detective Walsh and Lieutenant Seamen, seeking

body camera footage and other information.91 She spoke with Detective Walsh on March 19,

2022.92 She spoke with Lieutenant Seamen on April 28, 2022.93 She also spoke with other

unidentified persons from the Police Department.94

       Ms. Brookins saw the photograph Officer Culver had taken of her son when a woman sent

her a Facebook message on March 27, 2022.95 Ms. Brookins visited the Sunoco gas station about

ten days later in April 2022 near the overpass at Knights and Woodhaven Roads to see if anyone

there knew anything about the incident.96 She spoke with a gas station attendant, who told her

about, and then sent her, the same photograph of Mr. Boone.97 Ms. Brookins also spoke with other

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people who had seen Mr. Boone on the overpass.98 These people told her they noticed the police

seemed to be arguing with Mr. Boone but they also indicated the officers almost succeeded in

getting Mr. Boone off the ledge.99

          Ms. Brookins sued the City of Philadelphia and a John Doe Defendant over the

dissemination of the photograph of Mr. Boone on January 31, 2024.100 She did not plead and did

not know who took or circulated the photograph. The Police Department’s Internal Affairs Division

began investigating the photograph incident after learning of this case.101 The Philadelphia Police

Department distributes a directive about responding to severely mentally disabled persons and a

crime scene responsibility directive.102 The crime scene responsibility directive prohibits the use

of personal cell phones at crime scenes except in exigent circumstances.103 The Police Department

determined Officer Culver took the photo and sent it to others.104 Ms. Brookins learned body

camera footage existed in April 2024.105

          Ms. Brookins moved to amend to add constitutional and state law claims against the City

and several individual police officers relating to the interactions on the overpass after viewing the

body cam footage. She later dismissed a number of officers and claims. 106 She prepared for trial

on her remaining claims: a Fourteenth Amendment privacy interest claim against Officer Culver

for taking and disseminating the photograph; a municipal liability claim against the City for failing

to train police officers about privacy rights; an intentional infliction of emotional distress claim

against Officer Culver; a Fourteenth Amendment state-created danger claim against Detective

Walsh and Inspector Luca and a derivative wrongful death claim; and a municipal liability claim

against the City for failing to train officers how to deal with individuals undergoing mental health

crises.




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                                          II.     Analysis

        The City, Detective Walsh, and Inspector Luca move for summary judgment. Officer

Culver separately moves for summary judgment. We grant summary judgment in favor of the

Defendants on all claims. 107

            A. We grant summary judgment in favor of Officer Culver on Ms. Brookins’s
               privacy interest claim.

        Officer Culver moves for summary judgment on Ms. Brookins’s substantive due process

claim Officer Culver violated her constitutional right to privacy. We do not agree Officer Culver’s

various arguments preclude finding Ms. Brookins enjoys a privacy right. Ms. Brookins has a

constitutional privacy interest in the photograph of her son. But we are the first court in this Circuit

to reach this conclusion. The lack of clear guidance in March 2022 entitles Officer Culver to

qualified immunity notwithstanding his reprehensible conduct. And Ms. Brookins does not argue

the wrongfulness of Officer Culver’s conduct was so obvious any police officer would know taking

the photograph violated federal law. We must find a parent’s right to control death images of the

deceased from public exploitation is not clearly established. Officer Culver avoids personal

liability for his conscious-shocking conduct under the doctrine of qualified immunity.

        “The Fourteenth Amendment right to privacy shields individuals ‘from unwarranted

governmental intrusions into their personal lives.’”108 “The United States Constitution does not

mention an explicit right to privacy and the United States Supreme Court has never proclaimed

that such a generalized right exists.”109 But the Supreme Court “has found certain constitutional

‘zones of privacy.’”110 “Traditionally, the Fourteenth Amendment has protected two categories of

privacy rights.”111 Relevant here is “the individual interest in avoiding disclosure of personal

matters.”112 “The touchstone of constitutional privacy protection is whether the information at

issue is ‘within an individual’s reasonable expectations of confidentiality.’”113 “The more intimate

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or personal the information, the more reasonable the expectation is that it will remain

confidential.”114 “[T]he constitutional right of privacy . . . shields from public scrutiny only that

information which involves ‘deeply rooted notions of fundamental personal interests derived from

the Constitution.’”115

        The Court of Appeals for the Ninth Circuit in Marsh v. County of San Diego recognized as

a matter of first impression twelve years ago “the publication of death images interferes with ‘the

individual interest in avoiding disclosure of personal matters . . . .’”116 In Marsh, a district attorney

copied autopsy photographs of a child whose murder he prosecuted.117 The district attorney sent

one of the photographs to a newspaper and television station years after the autopsy with a

memorandum he wrote entitled “What Really Happened to Phillip Buell?”118 The child’s mother

sued San Diego County alleging the copying and dissemination of her child’s autopsy photographs

violated her Fourteenth Amendment due process rights.119 The Court of Appeals for the Ninth

Circuit explained “[t]o violate substantive due process, the alleged conduct must ‘shock[] the

conscience’ and ‘offend the community’s sense of fair play and decency.’”120 The court held Ms.

Marsh had a substantive due process right to control the body and death images of her son; the

public disclosure of the photographs violated that right.121

        The Court of Appeals for the Ninth Circuit relied on the Supreme Court’s decision in

National Archives and Records Administration v. Favish.122 The Supreme Court in Favish held

family members have a privacy right to death images under an exemption to the Freedom of

Information Act.123 The Court explained case law and cultural traditions establish a right of privacy

in death images rooted in the common law.124 The court of appeals in Marsh took it one step further

and concluded “the common law right to non-interference with a family’s remembrance of a

decedent is so ingrained in our traditions that it is constitutionally protected.”125



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       Officer Culver argues he is entitled to summary judgment because Ms. Brookins does not

have a constitutional privacy right in the photograph of her son. Officer Culver attempts to

distinguish the circumstances surrounding Mr. Boone’s death with the autopsy photographs

circulated years later in Marsh. Officer Culver also claims qualified immunity protects him even

if he did violate Ms. Brookins’s privacy rights.126 We address each argument in turn.

                   1. Ms. Brookins has a privacy interest in the photograph of her son’s body.

       Officer Culver argues the constitutional privacy interest is limited to fact information

concerning oneself.127 He attempts to distinguish Ms. Brookins’s claimed privacy interest from

several decisions by our Court of Appeals delineating the types of personal information protected

by the constitution.128 Ms. Brookins responds with a trial court opinion from thirty-four years ago

finding the Constitution protects family members from disclosure of their relatives’ AIDS status.129

       We rejected the argument the photograph of Mr. Boone does not implicate Ms. Brookins’s

right to privacy when we denied the City’s motion to dismiss.130 We allowed Ms. Brookins’s claim

to proceed into discovery on the novel (in this Circuit) substantive due process right recognized in

Marsh—the constitutional right to non-interference with a family’s remembrance of a decedent.131

We need not address this issue again. We instead turn to Officer Culver’s attempts to avoid this

finding based on fact distinctions.

                   2. Mr. Boone’s vital status at the time of the photograph is not dispositive.

       Officer Culver argues we are reviewing a different fact pattern than Marsh because the

child in Marsh was dead when photographed but Mr. Boone was alive.132 Ms. Brookins responds

by citing cases finding a privacy right (although not under the Constitution) in pre-death

recordings.133 Officer Culver presumes the case involves a photograph of a deceased Mr. Boone.




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       But his argument faces a procedural problem. The pleadings filed under Federal Rule of

Civil Procedure 11 repeatedly represented Officer Culver took a picture of a deceased Mr. Boone.

We cannot imagine how Ms. Brookins or the City’s officers could allow this misrepresentation;

Ms. Brookins knew her son lived for a few hours after his self-harm and the officers knew he

survived within seconds of viewing Mr. Boone on the ground. The lawyers at summary judgment

finally seem to have learned what their clients knew all along: all parties now acknowledge Officer

Culver took the photo of a living Mr. Boone alongside Woodhaven Road within minutes of his

self-harm. These allegations are utterly distinct from the facts of Ms. Brookins’s first three

complaints swearing Mr. Boone was dead when Officer Culver took the photograph.134 We granted

Ms. Brookins leave to amend her Complaint to challenge the officers’ conduct on the overpass but

we plainly instructed her not to adduce facts changing Mr. Boone’s vital status.135 She did so

anyway.136 Officer Culver now adopts this version of events.137 The situation facing us—the parties

all arguing facts totally distinct from the facts initially sworn under Rule 11—presents a procedural

conundrum the likes of which a first-year law student would shudder to see on a Federal Civil

Procedure exam. Yet we need not address this issue at length other than to note it raises questions

about the attorneys’ diligence and candor to the Court. But we save this ethical question for another

day as we find Ms. Brookins has a Fourteenth Amendment privacy right regardless of which

version of the facts applies.

       The constitutional right the Court of Appeals for the Ninth Circuit identified in Marsh is

the “right to non-interference with a family’s remembrance of a decedent[.]”138 True, the state actor

in Marsh photographed a dead child. But the court’s reasoning for finding a constitutional violation

applies equally here. The court of appeals found “the long-standing tradition of respecting family

members’ privacy in death images partakes of both types of privacy interests protected by the



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Fourteenth Amendment. . . . Few things are more personal than the graphic details of a close

family member’s tragic death. Images of the body usually reveal a great deal about the manner of

death and the decedent’s suffering during his final moments—all matters of private grief not

generally shared with the world at large.”139

       The court of appeals’s well-reasoned analysis in Marsh applies to the photograph of Mr.

Boone notwithstanding the newly posited fact he did not succumb to his injuries until hours later.

Officer Culver’s cell phone photograph captures graphic details of Mr. Boone’s appearance on the

ground. The cell phone photograph reveals a great deal about how he died and his suffering in his

final moments. Ms. Brookins swore: “In that photograph [her son] looked like he was tortured,

like grimace, like, you know, uncomfortable, hurting, alone. . . . [T]he photograph just kind of

really gave me this uglier picture of what I already . . . was experiencing.”140 Like in Marsh,

someone shared this depiction of Mr. Boone’s fatal injuries with the world at large after Officer

Culver inexcusably shared the photograph with his fellow officers and it ended up online.

       The newly posited (but long known) fact Mr. Boone did not die until after Officer Culver

photographed him does not warrant summary judgment in favor of Officer Culver.

                   3. Mr. Boone’s location before and at the time of the photograph does not
                      impact Ms. Brookins’s privacy rights.

       Officer Culver further attempts to distinguish the court of appeals’s reasoning in Marsh by

pointing out Mr. Boone’s injuries and final moments “occurred on a public thoroughfare in the

middle of the day” while the child in Marsh died in his home.141 He argues the circumstances of

Mr. Boone’s final moments “were already on public display[,]” while the autopsy photo in Marsh

revealed private information.142 Officer Culver borrows this public-versus-private dichotomy from

Fourth Amendment jurisprudence.143 Ms. Brookins responds it is immaterial the injuries to Mr.




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Boone happened on a public road, particularly because the police established a perimeter around

the scene.144

       We assess the right to privacy through a two-step test.145 We first assess whether “whether

[the information] is within an individual’s reasonable expectations of confidentiality.”146 We then

“balance the privacy interest against the public or governmental interest in disclosure.”147 The

analysis is “fact-intensive and context-specific . . . unfortunately, bright lines generally cannot be

drawn.”148

                          i.   Ms. Brookins enjoyed a reasonable expectation of privacy.

       We start with the reasonable expectation of privacy. Constitutional privacy protection turns

on whether an individual has a reasonable expectation of confidentiality in the information.149 An

individual may reasonably expect highly intimate or personal information to remain

confidential.150

       Relying on a quote from our Court of Appeals in Doe v. Luzerne County, Officer Culver

argues the Fourth Amendment’s guarantee of a legitimate expectation of privacy informs Ms.

Brookins’s expectation of confidentiality.151 But our Court of Appeals in Luzerne found the Court

of Appeals for the Sixth Circuit locates the right to privacy in the Fourth Amendment; our Court

of Appeals locates the right to privacy in the Fourteenth Amendment.152 Our Court of Appeals did

acknowledge “the contours of the right appear to be the same[]” under both amendments. 153 But

Officer Culver takes this a step too far by assuming Fourth Amendment search and seizure case

law applies to substantive due process privacy cases. Although both types of cases require a

reasonable expectation of privacy, “[t]he fundamental task of any Fourth Amendment analysis is

assessing the reasonableness of [a] government search.”154 By contrast, the Fourteenth

Amendment shields intimate or highly personal information from public disclosure.155



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       The Fourth Amendment cases Officer Culver references do not help our analysis. The

Supreme Court’s analysis in California v. Ciraolo and Oliver v. United States both involved a

search and seizure of marijuana plants being grown on an individual’s property.156 Our Court of

Appeals’s analysis in In re Grand Jury Proceedings (Mills) involved a grand jury’s demand a

witness submit to hair sampling.157 The Supreme Court in Ciraolo held the Fourth Amendment

does not “require law enforcement officers to shield their eyes when passing by a home on public

thoroughfares[]” or “preclude an officer’s observations from a public vantage point where he has

a right to be . . . .”158 The Supreme Court in Oliver held the Fourth Amendment does not shelter

open fields from government surveillance because, unlike someone’s home, they are “accessible

to the public and the police . . . .”159 And our Court of Appeals in Grand Jury Proceedings

concluded someone’s hair, which is on public display, is outside the scope of Fourth Amendment

protection.160 Extrapolating from these cases, Officer Culver argues Ms. Brookins does not have a

privacy interest because he took the photo of Mr. Boone “from the ‘public vantage point’ of the

Knights Road overpass where Officer Culver ‘had a right to be.’”161 But the present case involves

a police officer’s photograph of an individual after he jumped from the overpass for no reason

other than to show his coworkers. The courts’ teachings in Ciraolo, Oliver, and Grand Jury

Proceedings involved the seizure of evidence from individuals suspected of crimes. Attempting to

analogize these cases compares apples to oranges. Officer Culver’s argument about Mr. Boone’s

whereabouts is not persuasive.

       But location is sometimes part of the analysis. We look to substantive due process privacy

case law rather than Fourth Amendment search and seizure case law. Our Court of Appeals’s

analysis thirteen years ago in Luzerne, finding a reasonable expectation of privacy in one’s partially

clothed body, provides helpful guidance.162 A deputy sheriff discovered fleas on herself after she



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served a bench warrant on a resident inside a squalid home.163 The sheriff took a decontamination

shower and realized there were no towels.164 She wrapped hospital paper around her private

areas.165 Two male deputies entered the decontamination room and filmed the female deputy in

her state of undress.166 One of the male deputies then uploaded the video onto his work computer

and showed it to his colleagues.167 He also saved it in a public computer folder viewable by anyone

with access to the network.168 The female deputy sued the County and two individuals, amongst

other things, for violating her Fourteenth Amendment right to privacy.169 Our Court of Appeals

held the female deputy had a reasonable expectation of privacy while in the decontamination

room.170 The finding of a privacy expectation turned on the location (a showering facility with a

heavy wooden door) of the male deputies’ unconsented-to filming.171

       Our Court of Appeals’s Luzerne analysis is distinguishable because the deputy sued to

vindicate her own privacy rights. The issue facing us is not a violation of Mr. Boone’s privacy

rights, but a violation of Ms. Brookins’s privacy rights in the photograph of her son.172

       We are not persuaded Mr. Boone’s location bears on his mother’s privacy rights. We look

again to the court of appeals’s reasoning in Marsh. As Officer Culver argues, the child in Marsh

incurred injuries at home, not in public. And medical personnel in Marsh presumably took the

autopsy photographs at the morgue—again, not in public. But the court of appeals did not discuss

the private settings where the accident and the photographs occurred. It instead focused on the act

of publishing the photos: “the publication of death images interferes with ‘the individual interest

in avoiding disclosure of personal matters[]’” and “matters of private grief [are] not generally

shared with the world at large.”173

       The court’s focus on disclosure, rather than location at the time of fatal injury, makes sense.

Parents cannot control where their children meet their untimely death. To focus on Mr. Boone’s



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location is to shift the focus of the reasonable expectation of privacy from Ms. Brookins to Mr.

Boone. We cannot agree Ms. Brookins does not have a privacy interest in the photograph simply

because Officer Culver took the photograph from an overpass with no public access and not inside

a private residence.174 We, like the court of appeals in Marsh, hold the Constitution protects a

parent’s right to control images of her fatally injured child against unwarranted public

exploitation.175

                        ii.   Ms. Brookins’s individual privacy interest outweighs the police
                              interest in the improper photograph.

       We proceed to the second step of the test: balancing the privacy interest against the interest

in disclosure. “[A] person’s right to avoid disclosure of personal matters is not absolute.”176

“Disclosure may be required if the government interest in disclosure outweighs the individual’s

privacy interest.”177 We consider the type of the record, the information it contains, the potential

for harm in any subsequent nonconsensual disclosure, the injury from disclosure to the relationship

in which the record was generated, the adequacy of safeguards to prevent unauthorized disclosure,

the degree of need for access, and whether there is an express statutory mandate, public policy, or

other recognizable interest militating toward access.178

       These factors weigh overwhelmingly in Ms. Brookins’s favor. The type of “record” is the

photograph of Mr. Boone’s injured body on the side of a road. The potential for harm in

nonconsensual disclosure of this photograph is precisely what occurred: it ended up on social

media and strangers showed it to Ms. Brookins. The injury from disclosure to the relationship in

which the record was generated is a neutral factor. Officer Culver did not disclose the photograph

within the confines of a relationship—for instance, an employment relationship where individuals

must disclose certain private information—as Ms. Brookins did not have a relationship with the

police officers at the scene of her son’s jump. The adequacy of safeguards to prevent unauthorized

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disclosure is also a neutral favor. There is evidence the Police Department had a policy barring

officers from taking photos at crime scenes on their personal devices, which would weigh in favor

of the City, but does not weigh in favor of Officer Culver, who did not adhere to the policy. Officer

Culver acted far below the standard we expect of our experienced Philadelphia Police. The last

two factors—the need for access and a statutory mandate or public policy militating toward

access—weigh in favor of Ms. Brookins. Officer Culver had no legitimate reason to take the photo

on his personal phone contrary to the Police Department’s regulations cautioning officers against

such conduct.

       Ms. Brookins had a reasonable expectation of privacy in the photograph of her son and

Officer Culver had no reason for disclosing it. Like the court of appeals in Marsh, we conclude

Officer Culver’s “intrusion into the grief of a mother over her dead son—without any legitimate

governmental purpose—‘shocks the conscience’ and therefore violates [Ms. Brookins’s]

substantive due process right.”179

                   4. Qualified immunity protects Officer Culver from liability for violating
                      Ms. Brookins’s constitutional right to privacy.

       Officer Culver’s conduct shocks the conscience. The question is whether he is personally

liable in damages for his shocking departure from what we expect of our police. So, Officer Culver

resorts to arguing he is entitled to qualified immunity because Ms. Brookins’s right to privacy was

not clearly established when he took the photograph.180 Ms. Brookins responds courts have clearly

established family members’ right to privacy in pre-death moments of their loved ones.181

       “At summary judgment, the burden is on the officer to establish an entitlement to qualified

immunity.”182 “Qualified immunity attaches when an official’s conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would have known.”183

“A right is clearly established if the case law at the time of the alleged violation of the right would

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have put government officials on fair notice that their conduct violated the plaintiff’s rights.”184

“That is ‘an objective (albeit fact-specific) question, where an officer’s subjective beliefs are

irrelevant.’”185 The Supreme Court’s “case law does not require a case directly on point for a right

to be clearly established, [but] existing precedent must have placed the statutory or constitutional

question beyond debate.”186 The Supreme Court “has not yet decided what precedents—other than

[its] own—qualify as controlling authority for purposes of qualified immunity.”187 The Court

assumed, without deciding, a controlling circuit precedent could clearly establish law for purposes

of section 1983 under certain circumstances.188 Our Court of Appeals interprets the Supreme

Court’s qualified immunity jurisprudence to mean “clearly established rights are derived either

from binding Supreme Court and Third Circuit precedent or from a ‘robust consensus of cases of

persuasive authority in the Courts of Appeals.’”189 “We may also take into account district court

cases, from within the Third Circuit or elsewhere.’190

        “In analyzing the ‘clearly established law’ prong, we proceed in two steps: we first ‘define

the right allegedly violated at the appropriate level of specificity’ and then ‘ask whether that right

was “clearly established” at the time of its alleged violation.’”191 “[T]he clearly established right

must be defined with specificity[,]” and “not . . . at a high level of generality.”192 We analyze this

question “in light of the specific context of the case . . . .”193 In “exceedingly rare cases . . . the

existence of the plaintiff’s constitutional right is so manifest that it is clearly established by broad

rules and general principles.”194

        Ms. Brookins does not argue this case is “a member of that class of ‘easiest cases’” so we

must address whether her right was clearly established, at the time Officer Culver took the

photograph, under established law.195 Officer Culver posits the following standard: a reasonable

officer would not have known taking a photograph of Mr. Boone “on a public thoroughfare” would



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violate Ms. Brookins’s privacy interests under the Fourteenth Amendment because “the

circumstances surrounding the injurious conduct [were] protracted and public in nature.” 196 Ms.

Brookins does not offer her own definition of the right.

       We are mindful the Supreme Court cautions against defining constitutional rights “at a high

level of generality.”197 For example, in City of Escondido, California v. Emmons, the Supreme

Court rejected the “right to be free of excessive force” under the Fourth Amendment as “far too

general[]” a definition for the purposes of the “clearly established” analysis.198 Our Court of

Appeals in Jefferson v. Lias rejected the citizen’s proposed definition of the constitutional right—

“one that ‘bars an officer from opening gunfire into the driver’s side window of a fleeing vehicle

passing in front of him if the driver is not believed to be armed, did not previously act in a menacing

manner, and if there is no immediate danger to the officer or bystanders[]’”—as too narrow.199 But

it also rejected the officer’s proposed definition barring an officer from “[shooting] at a fleeing

driver to protect those who his or her flight might endanger[]” as too broad.200 Our Court of

Appeals instead defined the right somewhere in the middle of the parties’ proposed definitions.

       Adopting these principles from the Supreme Court and Court of Appeals, we would stretch

too far to define Ms. Brookins’s constitutional right as “the individual interest in avoiding

disclosure of personal matters[.]”201 It would be too narrow—not to mention inaccurate, given

Officer Culver’s misplaced reliance on Fourth Amendment case law—to define Ms. Brookins’s

right as the right not to have an officer take “a photograph of [her] injured [son] on a public

thoroughfare . . . when the circumstances surrounding the injurious conduct are protracted and

public in nature.”202 So we will follow the example of our Court of Appeals in Jefferson and define

the right somewhere in the middle. And like the court of appeals in Marsh, we think an appropriate

formulation is a parent’s right to control death images of the deceased from public exploitation.203



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       But this right is not clearly established. Other than Marsh, the cases Ms. Brookins cites

involve privacy rights rooted in a source other than the Constitution, such as the Freedom of

Information Act or common law.204 But Ms. Brookins does not claim a violation of her rights under

statutory or common law. She invokes her privacy right under the Constitution. And the Supreme

Court and our Court of Appeals have not recognized a constitutional privacy right to control images

of a deceased child. The court of appeals in Marsh is the only court of appeals to have recognized

this right. So we lack both “binding opinions from our own Court” as well as a “robust consensus

of cases of persuasive authority in the Courts of Appeals.”205 Several judges have recognized the

right to privacy analyzed twelve years ago in Marsh, but these are primarily in cases bound by the

Marsh precedent, and most of the judges did not find the challenged conduct actually violated the

right.206 Our Court of Appeals has, on at least one occasion, affirmed a district court finding a

clearly established right based on one out-of-circuit court of appeals decision and two district court

decisions.207 But there, unlike here, district court judges in our Circuit authored the analysis.208

Absent precedent from the Supreme Court, a “robust consensus in the Courts of Appeals,” or even

a consensus among our trial judge colleagues, we cannot find Marsh and a handful of district court

cases bound by Marsh create a clearly established precedent in this Circuit such that Officer Culver

had fair notice his conduct—although unquestionably callous and far below the standards we

expect—violated Ms. Brookins’s constitutional rights.

       Officer Culver is entitled to qualified immunity from the constitutional privacy claim.

           B. We grant summary judgment in favor of the City on Ms. Brookins’s municipal
              liability claim alleging a failure to train officers on privacy rights.

       The City moves for summary judgment on Ms. Brookins’s Monell claim alleging a failure

to train its officers on the privacy rights of family members.209 The Supreme Court in Monell v.

Department of Social Services of City of New York held “a municipality cannot be held liable under

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[s]ection 1983 based solely on the conduct of its employees.”210 “For liability to attach under

[s]ection 1983, the municipality itself must cause the constitutional violation at issue.”211 A section

“1983 claim against a municipality may proceed in two ways.”212 “A plaintiff may put forth that

an unconstitutional policy or custom of the municipality led to his or her injuries, or that they were

caused by a failure or inadequacy by the municipality that ‘reflects a deliberate or conscious

choice[.]’”213 One type of failure or inadequacy is a failure to train.214

       Ms. Brookins’s Monell claim is a failure to train claim.215 She must show the City’s failure

to train its officers “amounts to deliberate indifference to the constitutional rights of those

affected.”216 “A pattern of similar constitutional violations by untrained employees is ‘ordinarily

necessary’ to demonstrate deliberate indifference for purposes of failure to train.”217 “[I]n a narrow

range of circumstances” a pre-existing pattern of violations might not be necessary if the

unconstitutional consequences of failing to train are patently obvious.218 Still “the identified

deficiency in [the] training program must be closely related to the ultimate [constitutional]

injury.”219 “Liability cannot rest only on a showing that the employees ‘could have been better

trained or that additional training was available that would have reduced the overall risk of

constitutional injury.’”220 “Rather, the causation inquiry focuses on whether ‘the injury [could]

have been avoided had the employee been trained under a program that was not deficient in the

identified respect.’”221 We must “predict[] how a hypothetically well-trained officer would have

acted under the circumstances . . . .”222 “It is insufficient to show that one particular officer was

unsatisfactorily trained, since ‘the officer’s shortcomings may have resulted from factors other

than a faulty training program.’”223

       Like Officer Culver, the City first argues Ms. Brookins cannot establish a constitutional

violation of her right to privacy because Mr. Boone jumped from the overpass in public.224 We do



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not agree Mr. Boone’s location changes our analysis, and we need not address this issue again.225

We turn instead to the City’s argument it is not liable for failure to train.226

        The City claims “there is no evidence on record to demonstrate that there was in [sic]

inadequacies in the training of the Defendant Officers.”227 “[T]he record does not reflect . . . that

the City failed to train its officers regarding the privacy rights of family . . . .” 228 Ms. Brookins

responds “[i]t is evident from the testimony . . . the Police Department Directives are meaningless

because police are only required to indicate that they received them and not that they understand

their meaning.”229 Ms. Brookins excerpts an expert report opining the City failed to train its

officers on mental health negotiations.230 But she does not (aside from one cite to Sergeant Rivera’s

deposition in the brief’s introduction) point to specific portions of the record showing the City

failed to train its officers not to take inappropriate photographs. Training officers how to deal with

suicidal individuals and training officers not to take photos of them are two discrete issues. Citing

to an expert’s opinion concerning the former does not establish a genuine dispute of material fact

concerning the latter.

        We nevertheless consider other materials in the record to determine whether anything

supports Ms. Brookins’s failure to train argument. Nothing does. The record shows the police

department trained officers on the crime scene directive. Ms. Brookins relies on the deposition of

Sergeant Rivera to show the officers did not receive “proper” training on the directives.231 We find

this quantum parsing of the training unpersuasive. During the deposition Ms. Brookins’s counsel

asked Sergeant Rivera, “[w]hat process does the city have to make sure police officers understand

the directives?”232 The sergeant started by explaining the trainings officers received for directives

other than the crime scene directive.233 He then swore “there is a directive on the crime scene. But

officers also go through—when they go through the academy when they are recruits, they also go



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through crime scene training. Certain times throughout their careers, there may be points where

the MPO [Municipal Police Officer] board or commission will decide to give the officers further

training, or our own city might give them further training . . . in person, usually via PowerPoint.”234

At this point Ms. Brookins’s counsel said “I don’t really want to ask you about the crime scene

because we are really only [focusing] on the three directives here that I have mentioned.” 235 Ms.

Brookins’s decision not to fully develop Sergeant Rivera’s testimony as to the crime scene directive

does not establish a genuine dispute of material fact with respect to the City’s training program.

       Other officers also testified about the training they received on the crime scene directive

and/or the last time they read the directive. Lieutenant Miller swore he did not recall the

Department holding trainings on the crime scene directive since at least 2019.236 Officer Culver

swore he did not think he had seen the crime scene directive since his time at the academy.237 He

graduated the academy in 2000.238 Officer Clair could not remember what year he last saw the

crime scene directive, “if it was last year or this year,” but he swore the officers receive “MPO,

municipal police officer training” for four or five days each year.239 Officer Squares remembered

reading the crime scene directive but could not recall exactly when, although he swore it was

“possible” he had read it within the last five years.240 Officer Andrews swore it had probably been

two and a half years since he had seen the crime scene directive.241 Chief Inspector Singletary

swore he was familiar with the crime scene directive and he had probably read it when the

Department updated it in June 2022, but he did not receive training for the updated policy.242

Inspector Luca swore he had read the directive “plenty of times.”243 Detective Rovnan swore he

had read the policy “once or so[.]”244 During many of these depositions, Ms. Brookins’s counsel

asked the officers whether they were familiar with the directive but did not specifically ask when

or if they received training on it. And when officers swore they had read the directive, Ms.



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Brookins’s counsel did not ask them whether they read the directive as part of their training. So,

nothing in the record contradicts Sergeant Rivera’s testimony officers receive crime scene training

at the academy.

       The undisputed record establishes the City provided officers with training on the crime

scene directive at the academy but had not received training on the directive for at least a year. We

further find the City’s training program does not have a “causal nexus” with Ms. Brookins’s

injury.245 Despite the somewhat infrequent training on the crime scene directive, numerous officers

swore about what they could and could not do under the policy. Inspector Bachmayer swore police

could use their private cell phones to take calls at crime scenes but could not use them to take

pictures of victims or suspects.246 Captain Deblasis swore he knew about the crime scene directive,

and while he thought it permitted officers to use their cell phones in “exigent circumstances[,]” the

directive would “[a]bsolutely not” permit officers to take a photo of a victim lying on the ground.247

Detective Rovnan swore he did not know about the directive prohibiting personal cell phones at

crime scenes but he felt “shocked and upset” when he learned about the photograph of Mr.

Boone.248 He swore taking such a photograph was “not a common policy” and not “something that

should be professionally done.”249 Inspector Luca swore the crime scene directive prohibited

officers from using their cell phones to take photographs but allowed officers to use their phones

to capture evidence if needed.250 He further swore he personally would not have taken a picture of

the scene and he did not “know what that officer seen below or anywhere else that would have

given him the opportunity to take a photo.”251 Officer Andrews swore “cell phones on scene should

only be used if we need to make notifications.”252

       The record does not establish a failure to train by the City led to Officer Culver’s conduct.

Municipal liability does not result simply because the officers could have received someone’s



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perceived better training on the crime scene directive. Additional training would not have made

much difference given most of the officers knew what the directive said and would have known

better than to take a photo of someone on the ground after harming themselves. Officer Culver’s

conduct contravened normal behavior as an officer or a decent mature adult. But we cannot

attribute blame for his shocking conduct to the City.

       No dispute of material fact exists about the City’s training policies. The City is entitled to

judgment on the privacy interest Monell claim.

           C. We grant summary judgment in favor of Officer Culver on Ms. Brookins’s
              intentional infliction of emotional distress claim.

       Officer Culver moves for summary judgment on Ms. Brookins’s intentional infliction of

emotional distress claim. Ms. Brookins offers no cite to her alleged distress caused by Officer

Culver’s taking and circulating the photograph. His conduct is wrong, embarrassing to the City,

and far below what we (and likely his fellow officers) expect of our police. But Ms. Brookins

adduced no evidence Officer Culver’s taking and circulating the photograph caused her emotional

distress. We grant summary judgment in favor of Officer Culver on the emotional distress claim.

       The elements of a claim for intentional infliction of emotional distress under Pennsylvania

law requires Ms. Brookins to show Officer Culver’s conduct in talking and circulating the

photograph is: (1) extreme and outrageous; (2) intentional or reckless; (3) causes emotional

distress; and (4) the distress must be severe.253

       Officer Culver makes two arguments in support of summary judgment. First, he argues Ms.

Brookins’s claim fails for lack of proof because Pennsylvania law requires expert medical

testimony to support emotional distress damages and she has no such expert.254 Second, he argues

his conduct is not “extreme and outrageous” as required by Pennsylvania law.255 Ms. Brookins

responds she identified ten treating medical and mental health professionals in her Rule 26

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disclosures, produced over 1,500 pages of medical records, and swore she consulted with mental

health professionals after March 18, 2022 and suffered distress including anxiety and sleep

issues.256 She argues the record shows “competent medical evidence” to support her claim. She

alternatively argues whether she can present “competent medical evidence” is an issue “best left

for the time of trial and for the jury.”257 In response to Officer Culver’s second argument, Ms.

Brookins argues his conduct in photographing Mr. Boone and then sharing the photograph is

extreme and outrageous. Officer Culver replies Ms. Brookins did not identify an emotional distress

expert, did not produce an expert report, her treating physicians cannot now opine on causation,

and by generally referring to 1,500 pages of produced medical records she does not meet her

burden on summary judgment as to the causation element of her claim.258

       We focus on the proof of emotional distress caused by Officer Culver’s reckless act and

apply Pennsylvania law to this state law claim. The Pennsylvania Supreme Court in Kazatsky v.

King David Memorial Park, Inc. examined the proof of damages on an intentional infliction of

emotional distress claim.259 The court reasoned (over thirty-seven years ago) it would be “unwise

and unnecessary” to allow recovery on a such a claim “predicated on an inference based on the

defendant’s ‘outrageousness’ without expert medical confirmation that the plaintiff actually

suffered the claimed distress.”260 The court held the “existence of the alleged emotional distress

must be supported by competent medical evidence.”261

       Officer Culver proclaims Kazatsky “unequivocally requires” expert medical testimony and

Ms. Brookins’s treating physicians and providers cannot be experts and are “prohibited” from

testifying as to causation.262 We disagree with Officer Culver’s broad-brush application of the

Pennsylvania Supreme Court’s teachings in Kazatsky. We instead read the Pennsylvania Supreme

Court in Kazatsky as requiring “competent medical evidence” to support a claim for intentional



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infliction of emotional distress based on the Pennsylvania Supreme Court’s express concern

recovery for “outrageous” conduct should not be left for a jury to decide unaided by expert

testimony.263 It is not unusual to require expert medical testimony to show causation in tort cases

and we do not read Ms. Brookins’s opposition as arguing otherwise. She concedes she needs

“competent medical evidence” to prove her claim and points to her earlier disclosed treating

physicians and her medical records from the treating physicians.264

       Officer Culver takes Kazatsky one step further and argues Ms. Brookins’s treating

physicians are “prohibited” from testifying on causation. We disagree. Treating physicians may

testify as to causation and, in fact, Judge Joyner in the case cited by Officer Culver admitted a

treating physician’s expert report.265 In Brenner v. Consolidated Rail Corp., a machine operator

sued his former employer, Conrail, for injuries suffered at work. Conrail moved for summary

judgment arguing Mr. Brenner did not have admissible expert evidence of causation because he

specifically retained his treating physician as a causation expert and the expert report did not

conform to Federal Rule of Civil Procedure 26(a)(2)(B).266 Mr. Brenner did not contest his

obligations but argued his treating physician’s causation report in fact complied with Rule 26.267

       Judge Joyner explained, as a matter of procedure, parties must disclose their experts to be

used at trial and provide an expert report under Rule 26(a)(2)(A) and (B).268 Mr. Brenner identified

his treating physician and surgeon as his causation expert and produced the physician’s causation

opinion.269 Judge Joyner did not exclude the treating physician’s testimony under Rule 26(a)(2)(B)

and concluded Conrail’s objections went to the weight, and not the admissibility, of the treating

physician’s testimony.270 Judge Joyner explained treating physicians may testify about a patient’s

treatment and diagnosis without submitting an expert report but, if a plaintiff specifically retains




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his treating physician to provide opinion testimony on causation, the physician must comply with

the expert report requirements of Rule 26(a)(2)(B).271

       Chief Judge Goldberg denied summary judgment over two years ago in a negligence case

based on an objection to expert causation testimony.272 The defendants in Schweikert v. Eagle

moved for summary judgment arguing the plaintiff neither identified a causation expert nor served

expert reports.273 Chief Judge Goldberg explained Rule 26(a)(2)(A) and (B) requires a party to

disclose expert witnesses and provide the expert’s report to the opposing party.274 Treating

physicians may testify as lay witnesses based on their observations.275 If treating physicians opine

as to causation, they must be disclosed as experts under Rule 26 “only if they are ‘retained or

specifically employed to provide expert testimony in the case’ or if their ‘duties as the party’s

employee regularly involve giving expert testimony.’”276 Treating physicians who “‘form their

opinion on causation or prognosis as part of the ordinary care of a patient,’ . . . are not required to

provide Rule 26(a)(2)(B) expert reports.”277 We allow this testimony because “it is commonplace

for a treating physician ‘to consider things such as the cause of the medical condition, the

diagnosis, the prognosis and the extent of disability caused by the condition, if any.’”278

       So, we disagree Ms. Brookins’s treating physicians are “prohibited” from testifying as to

causation. But this is really not the issue. We see the issue as Ms. Brookins’s inability to meet her

burden of adducing evidence essential for trial proving her intentional infliction of emotional

distress claim. Officer Culver, as the party moving for summary judgment on the claim, must

demonstrate there is an absence of evidence to support Ms. Brookins’s claim.279 Officer Culver

argues there is no evidence in the record to support the photograph caused Ms. Brookins to suffer

emotional distress.280




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       Ms. Brookins simply points to the identity of her treating physicians made in disclosures

and 1,500 pages of medical records produced in the litigation. The Supreme Court through Rule

56 requires Ms. Brookins cite evidence in the record showing a genuine issue of fact for trial; she

must “cit[e] to particular parts of materials in the record.”281 She must adduce something more

than a conclusion; she must provide evidence from which a rational trier of fact can find in her

favor. Yet Ms. Brookins does not cite a single reference establishing the circulation of the

photograph caused her emotional distress. Her document-dump of medical records does not satisfy

her burden on summary judgment.

       We are not required to sift through 1,500 pages of medical records in the hope of finding a

fact issue on whether Officer Culver’s circulating the photograph caused her severe emotional

distress. It is true even a perfunctory scan of the medical records is sufficient for us to conclude

Ms. Brookins suffered emotional distress. But because Ms. Brookins did not identify one of her

treating physicians as an expert, she has no expert report on causation on which to rely. With no

expert report on causation or summary of opinion by a treating physician, we cannot conclude this

emotional distress stemmed from the photograph as opposed to the grief from her child’s self-

harm. As a result, we have nothing in the record creating a fact issue on causation.

       Officer Culver is entitled to summary judgment on the intentional infliction of emotional

distress claim—not because his reckless conduct is not outrageous or because she cannot proceed

as a matter of law—but because Ms. Brookins did not cite a single piece of evidence establishing

Officer Culver’s circulation of the photograph caused her severe emotional distress.282




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           D. We grant summary judgment in favor of Detective Walsh and Inspector Luca
              on the Fourteenth Amendment state-created danger claim and derivative
              wrongful death claim.

       Ms. Brookins sought leave to amend her Complaint in September 2024 (months after the

two-year statute of limitations expired in March 2024) to add claims related to the officers’

interactions with Mr. Boone for over two hours on the overpass.283 We granted her leave to assert

these overpass claims in her administratrix capacity subject to her later showing the state actors

are estopped from asserting the statute of limitations bar under the fraudulent concealment

doctrine.284 We first address whether she has met her burden to show fraudulent concealment to

toll the statute of limitations before reaching the merits of her constitutional and related wrongful

death claims challenging the officers’ efforts to persuade her son to not harm himself.

                   1. The substantive due process claim is not time-barred as we find genuine
                      issues of material fact on whether the police fraudulently concealed the
                      bodycam and a communication with a therapist.

       The City moves for summary judgment on Ms. Brookins’s Fourteenth Amendment

substantive due process state-created danger claim arguing Ms. Brookins did not prove fraudulent

concealment allowing her to toll the two-year statute of limitations to bring this claim in September

2024.285 We disagree after finding genuine issues of material fact as to the City’s fraudulent

concealment of the body camera footage and Detective Walsh’s alleged discussion with a therapist

working with Mr. Boone.

       Ms. Brookins’s substantive due process claim filed approximately thirty months after the

March 2022 incident is time-barred. But “[w]here, ‘through fraud or concealment, the defendant

causes the plaintiff to relax his vigilance or deviate from his right of inquiry,’ the defendant is

estopped from invoking the bar of the statute of limitations[]” under Pennsylvania law.286 The

“defendant’s conduct need not rise to fraud or concealment in the strictest sense, that is, with an


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intent to deceive; unintentional fraud or concealment is sufficient.”287 Fraudulent concealment

only applies if “[a] defendant . . . committed some affirmative independent act of concealment

upon which [a] plaintiff[] justifiably relied.”288 But a duty to speak must exist for fraudulent

concealment to occur; “[m]ere silence in the absence of a duty to speak cannot suffice to prove

fraudulent concealment.”289 Mere mistake or lack of knowledge is also insufficient.290 Ms.

Brookins today bears the burden of proving the police’s fraud or concealment by clear and

convincing evidence.291 “While it is for the court to determine whether an estoppel results from

established facts, it is for the jury to say whether the remarks that are alleged to constitute the fraud

or concealment were made.”292

        The City argues Ms. Brookins cannot show a police officer fraudulently concealed

information, such as the existence of body-worn camera footage.293 Her conversations with

Detective Walsh and Lieutenant Seamen did not prevent her from recognizing the validity of her

claims because she continuously pursued legal action.294 At the same time, the City claims Ms.

Brookins “failed to take any necessary follow ups . . . to obtain the information she sought” such

as filing a complaint with the Philadelphia Police Department.295 The 8th and 15th Police Districts

did not have body-worn cameras so the Defendant officers could not have provided footage to Ms.

Brookins because it did not exist.296 Although Officer Andrews wore a body camera, the City

argues, without citing the record, “the record shows that the . . . video was not withheld from [Ms.

Brookins].”297 Ms. Brookins responds Detective Walsh, Lieutenant Seamen, and the City actively

misled her with respect to body camera footage.298

        The evidence shows questions of fact surrounding Ms. Brookins’s conversations with

Detective Walsh on March 19, 2022 and a woman named Mary on April 19, 2022, both of whom

told her no body camera footage of the incident existed, and with Lieutenant Seamen on April 28,



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2022, who told her he could not give her information but did not specifically say anything about

body camera footage.299 We see other questions of fact arising from evidence Ms. Brookins asked

an unknown Police Department official from the Northeast Detectives Office, on an unidentified

date, whether officers from the 8th District wore body cameras during the incident, and the official

told her “there were no body worn camera recordings and no video tape recordings.” 300 Ms.

Brookins then sought legal help.301 She only found out body camera footage existed when she

spoke with Lieutenant Miller toward the end of April 2024—almost three months after she filed

this case and after the statute of limitations expired.302

        We assume for the purposes of summary judgment Ms. Brookins spoke with Detective

Walsh, Mary, an unidentified Police Department official, and Lieutenant Seamen, and we further

assume the conversations took place as she says they did.303 We disregard Ms. Brookins’s

conversation with Lieutenant Seamen because, even viewing the facts in the light most favorable

to Ms. Brookins, a reasonable jury could not find fraudulent estoppel resulted from the

conversation between Ms. Brookins and Lieutenant Seamen as they did not discuss body worn

camera footage.304 But we still must decide if estoppel results from Ms. Brookins’s conversations

with other individuals from the Police Department.305 She must show these conversations caused

her not to pursue this substantive due process claim for the officers’ conduct on the overpass.

        We look to our Court of Appeals’s guidance in Swietlowich v. Bucks County, where police

officers allegedly falsified a cell check log to hide their inadequate cell inspections after a detainee

committed suicide in jail.306 Our Court of Appeals explained “[t]he plaintiff must establish that she

relied to her detriment on wrongful acts of the defendant before she can invoke the ban of

estoppel.”307 “If what the defendant did had not the slightest influence on the plaintiff, then she

has no ground to invoke that conduct as the basis for an estoppel and the defendants’ wrongful act



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in altering the log was irrelevant.”308 “To establish her case, plaintiff had to prove that she delayed

bringing her suit because she reasonably believed that the police officers’ conduct was not

actionable based on their false statements of adequate inspections and of having done all that they

could.”309

       We find unpersuasive the City’s argument body worn camera footage could not have been

provided to Ms. Brookins because officers from the 8th and 15th Police Districts did not wear body

cameras. This is plainly not true since the City eventually produced body camera footage. Having

to retrieve the footage from a different district is not the same thing as not being able to provide

it.310 We also reject the City’s argument it did not withhold the footage from Officer Andrews’s

body camera; Ms. Brookins started asking for footage right after her son jumped off the bridge but

did not receive it until August 2024.311

       We lastly do not agree Ms. Brookins’s eventual legal action suggests the representations of

the officers and personnel with whom she spoke did not discourage her from pursuing her

remedies. The City’s argument here is Ms. Brookins is too late to bring this claim. Ms. Brookins’s

Complaint filed in January 2024 actually cuts against the City’s argument because at that point she

did not know about the bodycam footage and therefore limited her case to claims arising from the

photograph of her son.312 Seemingly contradicting its own argument about Ms. Brookins’s due

diligence and resultant lawsuit, the City also argues Ms. Brookins did not do enough to investigate

because she did not file a complaint with the Police Department about the photograph.313 Ms.

Brookins’s apparent failure to file an internal complaint—like the initiation of her lawsuit—has

little bearing on our analysis. Like her initial Complaint in federal court, any internal complaint

Ms. Brookins could have filed before obtaining the body camera footage would have been solely

concerned with the taking and dissemination of the photograph, not the officers’ interactions with



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Mr. Boone on the overpass. Ms. Brookins spoke with officers and personnel who allegedly told

her no body camera footage existed. Her original Complaint, devoid of references to pre-harm

conduct, confirms she relied on their statements to her detriment.

        We also note an important piece of evidence in the record which neither the City nor Ms.

Brookins mentions in their briefing. In addition to telling Ms. Brookins no body camera footage

existed, Detective Walsh—according to the notes Ms. Brookins took during their March 19, 2022

call—claimed Mr. Boone spoke with his therapist while on the bridge. Ms. Brookins wrote, “he .

. . mentioned Miss razor they of Gaudenzia house. he stated that Miss Razer Marcus’s therapist

was on the phone with Marcus trying to help get him down! [sic]”314 There is a dispute of fact as

to whether Detective Walsh actually told Ms. Brookins he allowed the therapist to speak to Mr.

Boone.315 He swore he did not tell Ms. Brookins that.316 This would be a jury question if this case

went to trial.

        But assuming for the purposes of summary judgment Detective Walsh told Ms. Brookins

Therapist Raysor spoke on the phone with Mr. Boone, estoppel results from this communication.

Part of Ms. Brookins’s state-created danger claim against Detective Walsh arises from the later-

discovered fact Detective Walsh did not allow Mr. Boone to speak to his therapist. Ms. Brookins

argues Detective Walsh “did not allow Ina Raysor, a trusted mental health professional, who was

then currently working with Marcus through his addiction and mental health issues at the

Gaudeniza Diagnostic Rehabilitation Center, to speak with Marcus despite calling her on the

telephone as Marcus stood on the overpass and despite her asking to speak to him.”317 The earlier

contradictory statement by Detective Walsh—which we assume he made for the purposes of

summary judgment—is plainly important to Ms. Brookins’s fraudulent concealment theory. If

Detective Walsh told Ms. Brookins Mr. Boone did speak with his therapist, and Ms. Brookins



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believed him, she may have relaxed her vigilance, assuming the officers did all they could. She

would not have known she had a cause of action until she later learned—outside the statute of

limitations—Detective Walsh did not permit Therapist Raysor to speak to Mr. Boone while he

stood on the overpass.318

       Assuming the jury finds the conversations Ms. Brookins had with various officers and

personnel at the Police Department took place exactly the way she swears, she establishes by clear

and convincing evidence the City, through its officers and personnel, fraudulently concealed the

existence of body camera footage and the fact Detective Walsh did not permit Therapist Raysor to

speak to Mr. Boone. We conclude the City’s fraudulent concealment equitably tolled the statute of

limitations on Ms. Brookins’s state-created danger substantive due process claim until she learned

of the officers’ conduct on the bridge.319

                   2. Detective Walsh and Inspector Luca did not cause a state-created
                      danger as a matter of law.

       The City also moves for summary judgment on behalf of Detective Walsh and Inspector

Luca on the merits of the state-created danger claim challenging the conduct on the overpass during

the over two hours of discussions with Mr. Boone.320 We now have the benefit of watching, and

re-watching, the bodycam footage offering the best adduced evidence of the police interactions

with Mr. Boone. Ms. Brookins’s allegations about the officers’ conduct troubled us, but the

bodycam footage shows different—and uncontroverted—facts. Ms. Brookins is left with citing to

three instances she believes merit a finding of state-created danger: Inspector Luca’s unidentified

“words and actions[,]” which made Mr. Boone “more elevated and increasingly agitated[]”;

Detective Walsh’s refusal to allow Therapist Raysor to talk with Mr. Boone although Mr. Boone

did not ask for her or know the police called her; Detective Walsh’s remark, “I’m enjoying this[,]”

to his colleagues at least twenty-five feet away from Mr. Boone approximately five minutes before

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Mr. Boone harmed himself; and Detective Walsh’s private conversation with Detective Rovnan

about house remodeling “closer to the instant when [Mr. Boone] jumped[.]”321 There is no evidence

Mr. Boone heard these statements other than Inspector Luca’s undefined words and actions. We

studied each of these specific instances compared to guidance from several judges in similar cases.

We held oral argument on this issue and Ms. Brookins’s counsel repeatedly asked us to review the

whole bodycam to get a fair context mindful mental illness is not a choice but a disease. We

wholeheartedly agree with Ms. Brookins’s counsel on this point. Our extensive review confirms

our finding Detective Walsh’s and Inspector Luca’s alleged conduct did not raise to the level of a

state-created danger as a matter of law.

       We begin with a review of guidance from appellate courts. The Supreme Court’s holding

in DeShaney v. Winnebago County Department of Social Services “ stands for the proposition that

the Due Process Clause imposes no affirmative duty to protect a citizen who is not in state

custody.”322 But “this does not mean that no constitutional violation can occur when state authority

is affirmatively employed in a manner that injures a citizen or renders him ‘more vulnerable to

injury from another source than he or she would have been in the absence of state intervention.’”323

“This complement to the DeShaney holding has come to be known in its progeny as the ‘state-

created danger doctrine.’”324 Under this doctrine, “liability may attach where the state acts to create

or enhance a danger that deprives the plaintiff of his or her Fourteenth Amendment right to

substantive due process.”325 The state-created danger exception has four elements: (1) the harm

ultimately caused was foreseeable and fairly direct; (2) the state actor acted with a degree of

culpability that shocks the conscience; (3) a relationship between the state and the plaintiff existed

such that the plaintiff was a foreseeable victim of the defendant’s acts or a member of a discrete

class of persons subjected to the potential harm brought about by the state’s actions, as opposed to



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a member of the public in general; and (4) the state actor affirmatively used his or her authority in

a way that created danger to the citizen or rendered the citizen more vulnerable to danger than had

the state not acted at all.326

        Our Court of Appeals has identified three potential levels of culpability required to shock

the conscience. “In ‘hyperpressurized environment[s] requiring a snap judgment,’ an official must

actually intend to cause harm . . . to be liable.”327 “[I]n cases where deliberation is possible and

officials have the time to make ‘unhurried judgments,’ deliberate indifference is sufficient.”328

Then “there are circumstances involving something less urgent than a ‘split-second’ decision but

more urgent than an ‘unhurried judgment.’”329 In these situations, where “the state actor is required

to act ‘in a matter of hours or minutes,’ we require that the state actor ‘disregard a great risk of

serious harm.’”330

        Our colleagues here and around the country have studied the tragic intersection between

the state-created danger doctrine and suicide. We turn now to the interplay between the state-

created danger doctrine and suicide.331 Courts of appeals have reached different conclusions on

whether the state-created danger doctrine applies to suicide cases. Our Court of Appeals examined

the state-created danger doctrine in the student suicide case Sanford v. Stiles.332 High school

student Michael Sanford passed his ex-girlfriend, Karen Martin, a note suggesting a story he had

heard about Ms. Martin and someone named Ryan “almost made [him] want to go kill

[himself].”333 Ms. Martin approached a school guidance counselor about the situation and the

counselor gave the note to Mr. Sanford’s guidance counselor, Pamela Stiles.334 Counselor Stiles

spoke with Mr. Sanford and concluded he did not present signs of wanting to harm himself.335 She

did not contact the school psychologist or Mr. Sanford’s mother.336 Mr. Sanford visited Counselor

Stiles about a week later and asked if a blonde-haired girl had given her the note.337 Counselor



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Stiles responded she could not tell him that information and asked Mr. Sanford if he wanted to talk

further; he declined.338 Mr. Sanford hanged himself that evening.339 Mr. Sanford’s mother sued

Counselor Stiles under a state-created danger theory, alleging the counselor’s actions increased

Mr. Sanford’s risk of suicide.340

       Our Court of Appeals applied the four-prong state-created danger test to hold no reasonable

jury could find Counselor Stiles acted with the requisite degree of culpability or created an

opportunity for harm to occur which would not have existed otherwise.341 First, without deciding

whether the deliberate indifference standard or a more heightened standard applied, our Court of

Appeals concluded Counselor Stiles’s decision not to contact the school psychologist or Mr.

Sanford’s mother did not shock the conscience.342 No one—including Mr. Sanford’s own family

members and ex-girlfriend—seriously believed Mr. Sanford would commit suicide, and Counselor

Stiles did not disregard a risk Mr. Sanford presented because she spoke with him and concluded

he was not suicidal.343 Second, our Court of Appeals found no question of fact as to whether

Counselor Stiles “used her authority ‘in a way that created a danger’” to Mr. Sanford or rendered

him more vulnerable than he would have been.344 Our Court of Appeals found the link between

Counselor Stiles’s conduct and Mr. Sanford’s death too far attenuated to hold her liable; the record

did not suggest Mr. Sanford relied on Counselor Stiles for support; and Counselor Stiles did not

interfere with Mr. Sanford’s relationship with his mother. Our Court of Appeals concluded the case

really focused on Counselor Stiles’s “failure to prevent Sanford’s death” and “mere failure to

protect an individual . . . does not violate the Due Process Clause.”345

       In deciding Counselor Stiles did not create a danger to Mr. Sanford, our Court of Appeals

relied on the seminal analysis offered by the Court of Appeals for the Tenth Circuit in Armijo ex

rel. Chavez v. Wagon Mound Public Schools.346 In Armijo, the Court of Appeals for the Tenth



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Circuit “extended application of the state-created danger theory to instances of suicide, undeniably

another form of private violence.”347 A sixteen-year-old special education student, Philadelfio

Armijo, had a history of making suicidal remarks.348 The student’s aide and the school counselor

knew Mr. Armijo had access to firearms.349 One day the school principal reprimanded Mr. Armijo

for harassing a younger student.350 Mr. Armijo responded by threatening physical harm to the

teacher who had reported the incident.351 The principal suspended Mr. Armijo and the school

counselor drove him home and dropped him off without contacting his parents, violating the

school’s disciplinary policy.352 Mr. Armijo later committed suicide with a rifle.353 The court of

appeals affirmed the district court’s denial of summary judgment, holding the school principal and

the school counselor put Mr. Armijo at a substantial risk of harm by suspending him, and then

leaving him alone with access to firearms when they knew Mr. Armijo might be suicidal and had

access to firearms.354 They acted in “conscious disregard of the risk of suicide,” and their conduct

could be viewed as conscience-shocking at trial.355

       Our Court of Appeals again examined the state-created danger doctrine six years ago in

Haberle v. Troxell addressing police liability when a person with a “a serious mental health episode

involving severe depression” shot and killed himself immediately after the police knocked on his

apartment door.356 Timothy Nixon told his partner he was suicidal then entered his cousin’s

apartment with a stolen handgun.357 Mr. Nixon’s partner notified the police; Officer Troxel

obtained a warrant for Mr. Nixon’s arrest and went to the apartment building.358 Some officers

suggested asking the Pennsylvania State Police to send crisis negotiators and suggested asking Mr.

Nixon’s partner to help them communicate with Mr. Nixon.359 Officer Troxell rejected these

suggestions, called the officers “a bunch of f[---]ing pussies[,]” and knocked on the apartment

door, identifying himself as a police officer.360 Mr. Nixon promptly shot himself.361 Mr. Nixon’s



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partner sued Officer Troxell alleging his actions (knocking on the door and announcing police

presence) constituted a state-created danger.362 Our Court of Appeals found Judge Leeson properly

applied the intermediate standard for situations involving a “hurried deliberation” and agreed

Officer Troxell’s decision to ignore the other officers and knock on the apartment door did not

show conscious disregard of a great harm of risk to Mr. Nixon.363 “[T]he fact that Troxell chose to

immediately knock while other officers counseled waiting manifests only a disagreement over how

to manage a risk, not a disregard of it.”364

       Courts of appeals outside of our Circuit provide additional guidance in state-created danger

suicide cases. The Court of Appeals for the Sixth Circuit, in contrast with the Court of Appeals for

the Tenth Circuit, “treat[s] suicide differently[]” than other cases involving state-created danger.365

Cutlip v. City of Toledo is illustrative. The case arose from a two-hour police standoff with Rocky

Cutlip, who held a shotgun to his head “while gripped in the throes of a mental and emotional

crisis[.]”366 Police negotiators arrived on scene and the lead negotiator attempted to form a bond

with Mr. Cutlip by speaking to him about his family and other common experiences. 367 The lead

negotiator found it difficult to develop a rapport with Mr. Cutlip because he (like Mr. Boone in this

case) “would fluctuate between calmness and excitement.”368 At one point during the negotiations

Mr. Cutlip asked to speak with his father and the police told him they would grant this request if

he put his shotgun down.369 Mr. Cutlip refused to put his shotgun down and instead pointed the

gun at his head and released the safety.370 The officers, aware Mr. Cutlip might kill himself if they

attempted to force him to relinquish the gun, asked the SWAT team to move in and prevent the

suicide attempt.371 The officers planned to deploy a “flash-bang” device to distract Mr. Cutlip, then

disarm him.372 But Mr. Cutlip pulled the trigger and killed himself when the SWAT team deployed

the device and entered the doorway to Mr. Cutlip’s bedroom.373 The court of appeals explained “a



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situation where the victim committed suicide does not fit neatly into the state-created-danger

doctrine”; “where a person makes a free and affirmative choice to end his life, the responsibility

for his actions remains with him.”374 “That a state official somehow contributed to a person’s

decision to commit suicide does not transform the victim into the state’s agent of his own

destruction.”375

       Despite its reservations about the applicability of the doctrine, the Court of Appeals for the

Tenth Circuit applied the state-created danger doctrine because it had “some question . . . about

whether [Mr. Cutlip] intentionally committed suicide or whether he involuntarily pulled the trigger

after the police detonated the flash-bang device . . . .”376 The court reviewed whether an affirmative

act by the police increased the risk Mr. Cutlip would kill himself and concluded the only possible

affirmative act—the detonation of the flash-bang device and the forced entry into the bedroom—

did not support a finding of deliberate indifference.377 The court found the police officers believed

a forced entry “presented a better chance for [Mr. Cutlip’s] survival than not going in at all . . .

.”378 The plaintiff argued the officers’ belief Mr. Cutlip was about to kill himself—therefore making

the flash-bang device necessary—was unreasonable because forty-seven minutes elapsed from the

time the negotiators asked for the SWAT team and the time the SWAT team entered the home,

“which should have warned the police at the scene that [Mr. Cutlip] was not really about to commit

suicide.”379 The court found “the amount of elapsed time [did] not create a genuine issue of

material fact[]” because “the negotiators repeatedly renewed their calls for intervention throughout

the forty-seven-minute period . . . .”380 Even if Mr. Cutlip involuntarily pulled the trigger after the

flash-bang the police did not act “with conscious indifference; they were aware of this risk,

attempted to minimize it, and were sadly unsuccessful.”381




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       The Court of Appeals for the First Circuit in Hasenfus v. LaJeunesse affirmed a dismissal

of a case where a teacher reprimanded a fourteen-year-old student, told her to return to the locker

room, and the student attempted to hang herself in the locker room.382 The court found the teacher

had not acted maliciously to cause harm to the student or otherwise behaved in a conscious-

shocking way.383 The Court of Appeals for the First Circuit again studied the state-created danger

in Coscia v. Town of Pembroke, Massachusetts, where a twenty-one-year old man committed

suicide the day after police arrested him, placed him in leg restraints, and followed an evaluation

protocol showing a high suicide risk.384 The police released him without having a doctor examine

him.385 The court of appeals found the police’s alleged treatment of the man did not suggest the

state intensified the man’s self-destructive tendency and the plaintiff’s “claim of causation leads

to a liability beyond what due process imposes . . . .”386

       The Courts of Appeals for the Seventh Circuit examined state-created danger in Martin v.

Shawano-Gresham School District, where an assistant principal suspended a student, who became

distraught and hanged herself when she went home after school, and Collignon v. Milwaukee

County, where a twenty-eight-year-old man committed suicide after being released from police

custody.387 In both cases, the court of appeals found the state did not create or increase the risk of

suicide, even if the arrest or the suspension caused severe emotional distress.388 The court in Martin

found no affirmative act because—in contrast with the facts in Armijo —the student went home

after school and had given no indication of suicidal tendencies; in Armijo, the school sent the

student home in the middle of the day knowing he could not fully care for himself, had previously

threatened suicide, and had access to firearms.389 The court in Collignon explained the police

officers temporarily detained a mentally ill man wandering the streets and returned him to his

father and stepmother; their conduct actually reduced the risk rather than increased it.390



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       The Court of Appeals for the Eleventh Circuit studied state-created danger in Wyke v. Polk

County School Board, where thirteen-year-old Shawn Wyke committed suicide at home after

attempting suicide twice at school in the few days before his death. 391 Another student found Mr.

Wyke in the restroom after his first suicide attempt and told his own mother, Brenda Morton, who

called the school and told the dean of students about the situation.392 The dean reassured Ms.

Morton “he would take care of it.”393 The dean of students called Mr. Wyke to his office, spoke

with him, and read him Bible verses, but did not notify anyone (including Mr. Wyke’s mother)

about the suicide attempt.394 Mr. Wyke committed suicide. His mother sued the school for failing

to train its employees in suicide prevention, arguing her son’s death resulted from the school’s

decision not to notify her of her son’s suicide attempt, hold her son in protective custody, procure

psychiatric evaluation for her son, or provide him with appropriate support.395 The court of appeals

rejected the mother’s argument the school cut off her boy’s private sources of aid and rendered

him more vulnerable to harm, “thereby incur[ing] an affirmative duty to protect him[]” under

DeShaney.396 The school did not “affirmatively prevent[]” the mother from saving her son’s life

because the dean of students did not stop Ms. Morton from calling Ms. Wyke; he simply told Ms.

Morton he would take care of the situation.397 If the school had affirmatively prevented someone

from helping Mr. Wyke, “perhaps [the court’s] analysis would have been different.”398

       We turn to the facts before us, mindful we must review three or four cited instances of

disputed conduct within the larger context of the two-and-a-half hours of bodycam footage:

Inspector Luca’s unidentified “words and actions[,]” which made Mr. Boone “more elevated and

increasingly agitated[]”; Detective Walsh’s refusal to allow Therapist Raysor speak to Mr. Boone;

Detective Walsh’s remark, “I’m enjoying this[,]” approximately five minutes before Mr. Boone




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harmed himself; and Detective Walsh’s conversation with Detective Rovnan about house

remodeling “closer to the instant when [Mr. Boone] jumped[.]”399

                            i.      Detective Walsh did not create danger to Mr. Boone when he
                                    allegedly refused to permit Mr. Boone’s therapist to speak to
                                    him.

       We first consider Detective Walsh’s alleged refusal to allow Therapist Raysor speak to Mr.

Boone. There is a fact issue concerning Detective Walsh’s conversation with Therapist Raysor.

Ms. Brookins’s counsel obtained an affidavit from Therapist Raysor dated the same day as their

response brief, which—according to the City—Ms. Brookins’s counsel did not disclose in

discovery.400 We do not find persuasive the City’s argument we should not consider the affidavit

due to nondisclosure during discovery; such an argument should be reserved for a motion in limine.

Notwithstanding the propriety of the City’s argument at this stage, a fact issue still arises. Detective

Walsh swore he contacted Gaudenzia (a treatment center providing mental health and substance

abuse services) but they were “kind of obstructionists” due to health care privacy laws and he

never learned the name of Mr. Boone’s therapist.401 Therapist Raysor’s post-discovery affidavit

(without the benefit of cross-examination) claims she spoke directly to Detective Walsh, and he

refused to let her speak to Mr. Boone.402 But we find this does not create a genuine issue of material

fact as the City would be entitled to judgment even if Detective Walsh did not let Therapist Raysor

speak to Mr. Boone.403

       Under the state-created danger four-part test we must ask whether (1) the harm ultimately

caused was foreseeable and fairly direct; (2) Defendant Walsh acted with a degree of culpability

that shocks the conscience by refusing to permit Therapist Raysor to speak to Mr. Boone; (3) a

relationship between the state and the plaintiff existed such that the plaintiff was a foreseeable

victim of the defendant’s acts; and (4) Detective Walsh affirmatively used his or her authority in a



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way that created danger to the citizen or rendered the citizen more vulnerable to danger than had

he not acted at all.404

        We start with the fourth prong. “[A] state’s failure to take affirmative action to protect a

victim from the actions of a third party will not, in the absence of a custodial relationship . . .

support a civil rights claim.”405 “It is misuse of state authority, rather than a failure to use it, that

can violate the Due Process Clause.”406 “But a specific and deliberate exercise of state authority,

while necessary to satisfy the fourth element of the test, is not sufficient.”407 “There must be a

direct causal relationship between the affirmative act of the state and plaintiff’s harm.”408 In other

words, “the state’s action was the ‘but for cause’ of the danger faced by the plaintiff.”409 Here,

where the police did not cause the danger but arguably made it worse, it must be “‘conceivable

that, but for the intervention of the police,’ which arguably put the victim . . . in a ‘worse position’

and increased [his] risk of danger,” Mr. Boone would not have harmed himself.410

        Our first question is whether Detective Walsh acted affirmatively by calling Therapist

Raysor or whether he simply failed to act when he told Therapist Raysor she could not speak to

Mr. Boone. We think it is the former. The court of appeals’s analysis in Wyke and our Court of

Appeals’s analysis in Sanford are illustrative. The court in Wyke found no affirmative act because

the dean of students did not “affirmatively prevent” anyone from notifying Mr. Wyke’s mother

about the suicide attempt; he simply did not call Mr. Wyke’s mother himself.411 Our Court of

Appeals in Sanford concluded Counselor Stiles did not affirmatively prevent Mr. Sanford from

speaking with his mother; she simply chose not to contact his mother after evaluating Mr.

Sanford.412

        We draw a contrast when viewing the facts in favor of Ms. Brookins. Detective Walsh did

call Mr. Boone’s therapist and decided she could not speak to Mr. Boone. We think this decision



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falls into the category of “affirmatively preventing” someone from helping an individual in crisis.

Even so, a reasonable jury could not conclude the refusal to permit Therapist Raysor speak to Mr.

Boone was the “but for cause” of increased danger. We cannot find as a matter of law Mr. Boone

would not have jumped off the bridge if he had been permitted to speak to his therapist.413 Our

analysis might be different if, for example, Mr. Boone asked to speak with his therapist, Detective

Walsh said no, and Mr. Boone harmed himself shortly thereafter. Our analysis might also be

different if Detective Walsh called Therapist Raysor of his own accord, Mr. Boone became aware

she was on the line, and Detective Walsh denied him the opportunity to speak to her. But we have

no evidence Mr. Boone asked to speak with his therapist and the bodycam confirms he did not ask

to speak to a therapist; nor is there evidence he knew Detective Walsh contacted his therapist.

Detective Walsh’s actions did not make Mr. Boone more vulnerable to harm or put him in a worse

position. Allegedly refusing to permit Therapist Raysor to speak to Mr. Boone left Mr. Boone

precisely as vulnerable as he was before the call. Leaving someone in the same position does not

rise to the level of state-created danger.414

        We also note Mr. Boone jumped at least thirty minutes after Detective Walsh allegedly

refused to let the therapist speak to him.415 It is true “a tight temporal nexus between act and harm”

is not always necessary.416 But we must consider the gap between the call to the therapist and Mr.

Boone’s self-harm together with the lack of evidence indicating Mr. Boone even wanted to speak

with his therapist. Taken together in its entire context, the evidence falls far short of showing an

affirmative act by Detective Walsh rendering Mr. Boone more vulnerable to danger. Ms. Brookins

has not established the fourth element of the test. We need not consider the remaining elements.

Ms. Brookins cannot prevail on the state-created danger theory as to Detective Walsh’s call with

Therapist Raysor.



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                           ii.    Defendant Walsh did not create danger to Mr. Boone with
                                  his remarks to other officers about enjoying himself and
                                  home remodeling.

       We next ask whether a comment Detective Walsh made about five minutes before Mr.

Boone harmed himself caused danger to Mr. Boone. Detective Walsh approached a group of

several officers standing about twenty-five or thirty feet away from where Mr. Boone stood on the

ledge. Someone asked Detective Walsh, “how you doing?” and said something else

indistinguishable. Detective Walsh responded, seemingly sarcastically, “I’m enjoying myself.”417

There is a question of fact as to whether Mr. Boone overheard this comment from where he stood

on the bridge. Ms. Brookins argues Detective Walsh made the remark within earshot of Mr. Boone;

the City replies Mr. Boone could not have heard the remark due to the crosstalk, traffic noises, and

Mr. Boone’s shouting.418 Mindful of our obligation to view the record in the light most favorable

to Ms. Brookins and assuming Mr. Boone heard the remark, we find there is no genuine issue of

material fact because a reasonable jury could not conclude the remark showed conscious disregard

under the second prong of the four-part state-created danger test.

       The second prong requires Detective Walsh act with a conscious-shocking degree of

culpability.419 We look to our Court of Appeals’s decision in Haberle v. Troxell for guidance. There,

as here, the intermediate standard requiring a conscious disregard of a great risk of serious harm

applied; the Court found Officer Troxell’s decision to knock on the apartment door of a suicidal

person instead of waiting for crisis negotiators fell “beneath the threshold of conscious

disregard.”420 If a knock on an apartment door directed at a suicidal individual does not constitute

conscious disregard, we cannot find the passing remark of an officer not involved with negotiations

with Mr. Boone meets the threshold.




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       “[O]ur cases have repeatedly acknowledged that executive action violates substantive due

process only when it shocks the conscience but that the meaning of this standard varies depending

on the factual context.”421 Different facts might have given rise to liability for state-created

danger.422 But these facts do not. The same goes for the conversations Detective Walsh had about

house remodeling just before Mr. Boone jumped from the bridge. A side conversation between

officers on the scene, even if it should have waited for a more appropriate time, does not establish

conscious disregard of a great risk of serious harm. We need not reach the other prongs of the state-

created danger doctrine because Detective Walsh’s remarks do not shock the conscience. Ms.

Brookins cannot prevail on her substantive due process claim arising from Detective Walsh’s

inappropriate remarks.

                           iii.   Inspector Luca did not create danger to Mr. Boone with his
                                  unspecified acts.

       We next examine Inspector Luca’s conduct causing Mr. Boone to become “increasingly

agitated.”423 Ms. Brookins does not identify a specific statements by Inspector Luca; she relies

upon certain commentary by the officer wearing the body camera concerning Inspector Luca’s

tactics and Mr. Boone’s inquiry of “why things were becoming ‘hostile.’”424 There is no dispute

Mr. Boone and Officer Andrews talked about Inspector Luca’s negotiation strategies, but we agree

with the City Ms. Brookins does not cite record evidence supporting her argument Inspector Luca

“affirmatively made the situation worse[.]”425 Without knowing what Inspector Luca said to Mr.

Boone, a reasonable jury could not find Inspector Luca foreseeably and directly caused Mr.

Boone’s harm in a way which shocks the conscience and rendered Mr. Boone more vulnerable to

danger. Ms. Brookins’s counsel admitted he could offer no specific example but asked we review

all of the bodycam footage. We did once again. Ms. Brookins has not provided sufficient evidence

of a genuine issue of material fact precluding judgment as a matter of law based on Inspector

                                                 51
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Luca’s unidentified statements. She cannot prevail on her state-created danger against Inspector

Luca.

        We grant summary judgment in favor of Detective Walsh and Inspector Luca on Ms.

Brookins’s Fourteenth Amendment state-created danger claim. The absence of an underlying

constitutional violation is fatal to Ms. Brookins’s wrongful death claim arising from the officers’

pre-fall conduct, so we grant summary judgment on this claim too.426

           E. We grant summary judgment in favor of the City on the municipal liability
              claim alleging a failure to train police officers how to deal with individuals
              undergoing mental health crises.

        The City moves for summary judgment on the merits of Ms. Brookins’s Monell claim

alleging a failure to train police officers how to engage with individuals in crisis.427 “To make out

a failure to train claim, plaintiff must prove the inadequate training amounted to a ‘deliberate

indifference to the rights of persons with whom the police come into contact.’”428 “Formalistically,

the elements of a Monell failure to train theory are (1) an underlying constitutional violation (here,

state created danger, which requires deliberate indifference of the municipality) (2) to which the

municipality was deliberately indifferent.”429

        We need not address the parties’ failure to train arguments because Ms. Brookins did not

establish state-created danger to Mr. Boone arising from the officers’ pre-fall conduct. Without an

underlying constitutional violation, her related Monell theory necessarily fails. The City is entitled

to judgment on the state-created danger Monell claim.

                                         III.    Conclusion

        We today review Philadelphia Police officers’ behavior toward a mentally ill suicidal

person both before and after his self-harm. Several colleagues offer persuasive guidance on police

officers’ potential liability for allegedly agitating a man suffering a severe mental health episode


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who later harms himself. Recently produced body camera footage confirms no genuine issue of

material fact concerning the constitutionality of the officers’ interactions with the distressed man

before he harmed himself.

        Officer Culver using his personal cell phone to photograph a fatally injured person to share

with friends is shocking reprehensible conduct. But we (and the officers) lack established guidance

on whether a police officer violates a mother’s privacy rights when the officer inexcusably

circulates a cellphone photograph of her critically wounded mentally ill son on the ground after he

harmed himself. We find Officer Culver’s conduct violated the mother’s constitutional privacy

rights. But the reckless officer is entitled to qualified immunity as there is no clearly established

privacy right and Ms. Brookins does not argue his conduct is so outrageous to allow us to find any

police officer would know photographing a victim and circulating it violates a family member’s

privacy rights. The officer’s conduct is inexcusable and unworthy of the trust we place in our

police. It is also unprecedented in the law. So, the reckless officer is entitled to judicially created

qualified immunity. Our holding does not excuse the officer’s conduct.

        Ms. Brookins also adduced no evidence the City’s failure to train its officers resulted in

Officer Culver’s reckless and reprehensible conduct. Nor has the mother adduced medical

evidence establishing his shocking circulation of the photograph caused her severe emotional

distress.

        We grant the Defendants’ motions for summary judgment.




1
 ECF 106 (Culver Statement of Undisputed Material Facts (“SUMF”)) ¶ 1; ECF 118 (Brookins
Resp. to Culver SUMF) ¶ 1. Ms. Brookins’s Response to Officer Culver’s Statement of Undisputed
Material Facts, her Response to the City’s Statement of Undisputed Material Facts, and her
Counterstatement of Undisputed Material Facts (“CUMF”) are all located at ECF 118. Her
Response to Officer Culver’s SUMF can be found at ECF 118 at 13–20. Her Response to the City’s

                                                  53
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SUMF can be found at ECF 118 at 1–13. Ms. Brookins’s CUMF can be found at ECF 118 at 21–
39.
2
    ECF 106 (Culver SUMF) ¶ 5; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 5.
3
  ECF 106 (Culver SUMF) ¶ 6; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 6. Mr. Boone stood
approximately where the blue highlight is on the map for most of the time before he moved to the
right of the picture where the unfenced portion of the ledge begins.
4
    See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
5
    ECF 106 (Culver SUMF) ¶ 17; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 17.
6
    ECF 106 (Culver SUMF) ¶¶ 13, 18; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 13, 18.
7
    ECF 106 (Culver SUMF) ¶¶ 15, 19; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 15, 19.
8
    ECF 109 (City SUMF) ¶¶ 83; ECF 118 (Brookins Resp. to City SUMF) ¶¶ 83.
9
 See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 109 (City
SUMF) ¶ 83; ECF 118 (Brookins Resp. to City SUMF) ¶ 83.
10
     ECF 109 (City SUMF) ¶ 135; ECF 118 (Brookins Resp. to City SUMF) ¶ 135.
11
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).

 ECF 106 (Culver SUMF) ¶ 7; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 7. Officer Andrews
12

was the only officer on scene with a body camera. See id.
13
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
14
     See generally id.
15
     See generally id.
16
     See generally id.; ECF 118 (Brookins CUMF) ¶¶ 46–47.
17
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
18
     See generally id.
19
     See generally id.
20
     See generally id.; ECF 118 (Brookins CUMF) ¶ 43.



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21
  See generally JA182 (Body Camera Footage); ECF 106 (Culver SUMF) ¶ 21; ECF 118
(Brookins Resp. to Culver SUMF) ¶ 21.
22
  See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 106 (Culver
SUMF) ¶ 22; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 22.
23
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
24
     See generally id.
25
  See generally id.; ECF 106 (Culver SUMF) ¶ 24; ECF 118 (Brookins Resp. to Culver SUMF) ¶
24.
26
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
27
  See generally id.; ECF 106 (Culver SUMF) ¶ 23; ECF 118 (Brookins Resp. to Culver SUMF) ¶
23.
28
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
29
     See generally id.
30
  See generally id.; ECF 106 (Culver SUMF) ¶¶ 25, 26; ECF 118 (Brookins Resp. to Culver
SUMF) ¶¶ 25, 26.
31
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
32
     See generally id.
33
     See generally id.
34
     See generally id.
35
     See generally id.
36
     See generally id.
37
     See generally id.
38
     See generally id.; ECF 118 (Brookins CUMF) ¶¶ 49–50.

 See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 118 (Brookins
39

CUMF) ¶ 52.

 See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 118 (Brookins
40

CUMF) ¶ 53.
                                               55
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 See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 118 (Brookins
41

CUMF) ¶ 54.
42
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
43
     See generally id.
44
     See generally id.
45
     See generally id.
46
     See generally id.
47
     See generally id.
48
     See generally id.; ECF 118 (Brookins CUMF) ¶ 64.
49
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
50
     See generally id.
51
     See generally id.
52
     See generally id.
53
     See generally id.
54
     See generally id.
55
     See generally id.
56
     See generally id.
57
     See generally id.
58
     See generally id.
59
     See generally id.
60
     See generally id.
61
     See generally id.
62
     See generally id.

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63
     See generally id.
64
     See generally id.
65
     See generally id.
66
     See generally id.
67
     See generally id.; ECF 118 (Brookins CUMF) ¶ 65.
68
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
69
     See generally id., ECF 118 (Brookins CUMF) ¶ 66.

 See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182); ECF 118 (Brookins
70

CUMF) ¶ 68.
71
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
72
     See generally id.
73
     See generally id.
74
     See generally id.
75
     See generally id.
76
     See generally id.
77
     See generally id.; ECF 118 (Brookins CUMF) ¶ 69.
78
     See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182)
79
  See generally id.; Though it is readily apparent from the footage Mr. Boone jumped from the
overpass, counsel for Ms. Brookins swore in the operative Complaint Mr. Boone “fell” from the
overpass. See ECF 93. He did not fall. He dove headfirst like a diver into a pool.
80
     ECF 106 (Culver SUMF) ¶ 31; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 31.
81
   See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182). We remain
concerned how counsel for all parties repeatedly represented Mr. Boone died upon impact such
that Officer Culver took a picture of a deceased Mr. Boone. We notified counsel during oral
argument of our concern with the repeated lack of candor on this issue even though we find the
distinction immaterial as a matter of privacy law.
82
     ECF 106 (Culver SUMF) ¶ 34; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 34.
                                               57
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83
  ECF 106 (Culver SUMF) ¶ 36; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 36; ECF 120-1
(Culver Aff., PA2324) at 2.
84
     ECF 106 (Culver SUMF) ¶ 48; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 48.
85
     ECF 106 (Culver SUMF) ¶ 39; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 39.
86
     ECF 106 (Culver SUMF) ¶ 41; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 41.
87
     ECF 106 (Culver SUMF) ¶¶ 42–43; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 42–43.
88
     ECF 106 (Culver SUMF) ¶¶ 44–45; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 44–45.
89
     ECF 106 (Culver SUMF) ¶ 45; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 45.
90
     ECF 106 (Culver SUMF) ¶ 46; ECF 118 (Brookins Resp. to Culver SUMF) ¶ 46.
91
     ECF 118 (Brookins CUMF) ¶¶ 76–130.
92
     ECF 118 (Brookins CUMF) ¶ 76.
93
     Id. ¶ 85.
94
   Id. ¶¶ 126–130 (Ms. Brookins spoke with an unknown police officer from the City of
Philadelphia Police Northeast Detectives on an unidentified date); see also ECF 119-7 (Brookins
Aff., PA1512–PA1517) at 50 ¶ 8 (Ms. Brookins called the 8th District on March 19, 2022 and
spoke to a woman named Mary).
95
     ECF 106 (Culver SUMF) ¶¶ 47–50; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 47–50.
96
     ECF 106 (Culver SUMF) ¶¶ 51–52; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 51–52.
97
     ECF 106 (Culver SUMF) ¶¶ 53–53; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 53–55.
98
     ECF 106 (Culver SUMF) ¶¶ 58–59; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 58–59.
99
     ECF 106 (Culver SUMF) ¶¶ 51–52; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 51–52.
100
      ECF 1.
101
      ECF 109 (City SUMF) ¶ 151; ECF 118 (Brookins Resp. to City SUMF) ¶ 151.
102
      ECF 118 (Brookins CUMF) ¶¶ 6–7, 71.
103
      Id. ¶ 71.
                                              58
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104
      ECF 109 (City SUMF) ¶¶ 154–55; ECF 118 (Brookins Resp. to City SUMF) ¶¶ 154–55.
105
      ECF 118 (Brookins CUMF) ¶¶ 131–33.
106
      ECF 119 at 2 n.2.
107
    Summary judgment is proper when “the movant shows that there is no genuine issue as to any
material fact that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P.
56(a). “Material facts are those ‘that could affect the outcome’ of the proceeding, and ‘a dispute
about a material fact is “genuine” if the evidence is sufficient to permit a reasonable jury to return
a verdict for the non-moving party.’” Pearson v. Prison Health Servs., 850 F.3d 526, 534 (3d Cir.
2017) (quoting Lamont v. New Jersey, 637 F.3d 177, 181 (3d Cir. 2011)). On a motion for summary
judgment, “we view the facts and draw all reasonable inferences in the light most favorable to the
nonmovant.” Pearson, 850 F.3d at 533–34 (citing Scott v. Harris, 550 U.S. 372, 378 (2007)). “The
party seeking summary judgment ‘has the burden of demonstrating that the evidentiary record
presents no genuine issue of material fact.’” Parkell v. Danberg, 833 F.3d 313, 323 (3d Cir. 2016)
(quoting Willis v. UPMC Children’s Hosp. of Pittsburgh, 808 F.3d 638, 643 (3d Cir. 2015)). If the
movant carries its burden, “the nonmoving party must identify facts in the record that would enable
them to make a sufficient showing on essential elements of their case for which they have the
burden of proof.” Willis, 808 F.3d at 643 (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323
(1986)). Where “a party who fails to make a showing sufficient to establish the existence of an
element essential to that party’s case, and on which that party will bear the burden of proof at trial
. . . there can be ‘no genuine issue as to any material fact,’ since a complete failure of proof
concerning an essential element of the nonmoving party's case necessarily renders all other facts
immaterial.” Celotex, 477 U.S. at 322–23. “The moving party is ‘entitled to a judgment as a matter
of law’ because the nonmoving party has failed to make a sufficient showing on an essential
element of her case with respect to which she has the burden of proof.” Id. at 323.
108
   Morton v. Lancaster Cnty. Prison, No. 13-1306, 2014 WL 3953175, at *10 (E.D. Pa. Aug. 11,
2014) (quoting Eagle v. Morgan, 88 F.3d 620, 625 (8th Cir. 1996)), aff’d sub nom. Morton v.
Arnold, 618 Fed. App’x 136 (3d Cir. 2015)).
109
   Doe v. Luzerne Cnty., 660 F.3d 169, 175 (3d Cir. 2011) (quoting C.N. v. Ridgewood Bd. of
Educ., 430 F.3d 159, 178 (3d Cir. 2005)).
110
      Id. (quoting C.N., 430 F.3d at 178).
111
      Morton, 2014 WL 3953175, at *10.
112
   Malleus v. George, 641 F.3d 560 (3d Cir. 2011) (quoting Hedges v. Musco, 204 F.3d 109, 121
(3d Cir. 2000)), as amended (June 6, 2011).
113
      Luzerne, 660 F.3d at 175 (quoting Malleus, 641 F.3d at 564).



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114
   Id. (first citing Fraternal Order of Police, Lodge No. 5 v. City of Phila., 812 F.2d 105, 112 (3d
Cir. 1987); then citing Malleus, 641 F.3d at 564; and then citing C.N., 430 F.3d at 179).
115
      Id. at 176 (quoting Nunez v. Pachman, 578 F.3d 228, 232 (3d Cir. 2009)).
116
      680 F.3d 1148, 1154 (9th Cir. 2012) (quoting Whalen v. Roe, 429 U.S. 589, 599 (1977)).
117
      Id. at 1152.
118
      Id.
119
      Id.
120
      Id. at 1154 (quoting Rochin v. Cal., 342 U.S. 165, 172–73 (1952)).
121
      Id. at 1154–55.
122
      541 U.S. 157 (2004).
123
      Id. at 165–67.
124
      Id. at 167–69.
125
    Marsh, 680 F.3d at 1154 (emphasis added). Because the right was not clearly established at the
time of the district attorney’s conduct the court found he had qualified immunity. Id. at 1158–60
(citing Davis v. Scherer, 468 U.S. 183, 191 (1984)).
126
      ECF 105 at 9–17.
127
      Id. at 11.
128
    Id. at 11–13. Officer Culver argues a “photograph of Mr. Boone does not implicate Ms.
Brookins’ privacy interest in her own ‘sexual information, medical information, [or] financial
information.’” Id. at 13.
129
   ECF 117 at 7 (discussing Doe v. Borough of Barrington, 729 F. Supp. 376, 382–85 (D.N.J.
1990)).
130
   See ECF 31 (“We . . . have little difficulty in rejecting the Officer Defendants’ and the City’s
argument Ms. Brookins only has the right to control information about herself.”).
131
      Marsh, 680 F.3d at 1154.
132
      ECF 105 at 15.
133
      ECF 117 at 14–16.
                                                  60
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134
   Ms. Brookins’s former counsel swore in her first Complaint approximately twenty-one months
after she knew her son survived the harm on the ground, “[i]n the immediate moments after Mr.
Boone’s death, John Doe #1 – a Philadelphia Police Officer present at the scene – took photographs
of Mr. Boone’s deceased body on the ground from the vantage point of where he jumped.” ECF 1
¶ 1 (emphasis added). Ms. Brookins’s former counsel swore the same thing in the amended
Complaint and the second amended Complaint. ECF 18 ¶ 1; ECF 38 ¶ 1.
135
   ECF 94 at 7; see also, e.g., ECF 87 (Oral Argument Tr.) at 22; ECF 93 (granting Plaintiff leave
to amend her Complaint only to add a pre-fall state-created danger claim and related wrongful
death claim).
136
   ECF 93 ¶¶ 51, 53–56 (swearing Officer Culver took a photograph of Mr. Boone instead of
rendering necessary medical care), 66–68 (swearing Mr. Boone showed vital signs of life when
admitted to the hospital but died despite medical staff’s efforts).
137
      ECF 105 at 17 (“The photograph of Mr. Boone was taken while he was alive.”).
138
      Marsh, 680 F.3d at 1154.
139
      Id.
140
   Brookins Dep. I (ECF 107 at 3–68, JA1–JA66) 125:23–126:11. Officer Culver’s and the City’s
combined exhibits are all located at ECF 107, so we use the pagination assigned in their joint
appendix in addition to the ECF numbers to refer to their exhibits. Likewise, all of Ms. Brookins’s
exhibits are located at ECFs 119 and 120, so we use the pagination assigned in her appendix in
addition to the ECF numbers when referring to her exhibits.
141
      ECF 105 at 15.
142
      Id.
143
      Id. at 14.
144
      ECF 117 at 15–18.
145
      Doe 1 v. Cnty. of Fayette, No. 14-196, 2014 WL 5493814, at *2 (W.D. Pa. Oct. 30, 2014).
146
      Id. (alteration in original) (quoting C.N., 430 F.3d at 179).
147
      Id.
148
      Luzerne, 660 F.3d at 176.
149
      Id. at 175.

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  See id. at 175–76 (first citing Fraternal Order of Police, 812 F.2d at 112–13; then citing
150

Malleus, 641 F.3d at 564).
151
      ECF 105 at 12 (quoting Luzerne, 660 F.3d at 176 n.5).
152
   Luzerne, 660 F.3d at 176 n.5. Officer Culver cites to one footnote in Luzerne where our Court
of Appeals discussed a factually distinguishable case from the Ninth Circuit. In Davis v. Bucher,
the Court of Appeals for the Ninth Circuit held found no constitutional privacy expectation where
an incarcerated person brought photographs of his naked wife into prison because he “imported
the photos into the prison environment, a habitat presenting an inherent risk of disclosure and a
cognizable diminution in [the prisoner’s] reasonable expectations of privacy.” 853 F.2d 718, 720
(9th Cir. 1988). Officer Culver does not explain—nor can we surmise—how the scene on a
roadside following a suicide attempt presents “an inherent risk of disclosure” akin to the risk of
disclosure in Bucher.
153
      Luzerne, 660 F.3d at 176 n.5.
154
   United States v. Sczubelek, 402 F.3d 175, 182 (3d Cir. 2005) (emphasis added) (citing United
States v. Knights, 534 U.S. 112, 118 (2001)).
155
      Nunez, 578 F.3d at 231–32.
156
   California v. Ciraolo, 476 U.S. 207, 209–10 (1986); Oliver v. United States, 466 U.S. 170, 173–
74 (1984).
157
      In re Grand Jury Proc. (Mills), 686 F.2d 135, 136–37 (3d Cir. 1982).
158
      Ciraolo, 476 U.S. at 213.
159
      Oliver, 466 U.S. at 179.
160
      Grand Jury Proc., 686 F.2d at 139.
161
      ECF 105 at 13.
162
      Luzerne, 660 F.3d at 176.
163
      Id. at 171.
164
      Id. at 172.
165
      Id. at 173.
166
      Id.
167
      Id.
                                                 62
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168
      Id.
169
      Id. at 174.
170
      Id. at 177.
171
   Id. (“We conclude that Doe had a reasonable expectation of privacy while in the
Decontamination Area, particularly while in the presence of members of the opposite sex.”).
172
   See Marsh, 680 F.3d at 1153 n.1 (“This privacy right belongs, not to the deceased, but to the
survivors: ‘A privilege may be given the surviving relatives of a deceased person to protect his
memory, but the privilege exists for the benefit of the living, to protect their feelings, and to prevent
a violation of their own rights in the character and memory of the deceased.’” (quoting Favish,
541 U.S. at 168–69)).
173
      Id. at 1154 (emphasis added).
174
    Even if Mr. Boone’s location had some bearing on Ms. Brookins’s privacy interest—and we
find it does not— there is a question of fact about the public nature of the bridge when Mr. Boone
harmed himself. The record contains contradictory evidence on this point. We normally agree a
highway overpass is a public place. On the day in question, though, the police attempted to secure
a perimeter around the area. The overpass is located at the intersection of Knights Road and
Woodhaven Road. See ECF 107 (JA205) at 207. Lieutenant Jeffrey Seamen swore he “took steps
to ensure that the bridge was closed down[]” and “[t]raffic was closed off on Knights Road both
ways. And Woodhaven Road.” Seaman Dep. (ECF 107 at 149–55, JA147–JA 153) 12:18–24.
When asked about the purpose of the perimeter, Lieutenant Seamen swore, “[t]o make sure no
bystanders come by for the safety of the people involved, the person on the bridge, the officers,
everyone that has to respond.” Seamen Dep. 13:8–11. Sergeant Michael Dougherty similarly swore
“there was a ton of bystanders[,]” but “[t]hey weren’t exactly within the perimeter. But they were
as close as they could get without—where we couldn’t move them back any further. . . . They were
in parking lots across the street.” Dougherty Dep. (ECF 107 at 226–32, JA224–JA230) 16:3–10.
Police Officer Dennis Clair swore he had to block the parking lot of a nearby TD Bank because
“[t]hey didn’t want people going in and . . . watching . . . .” Clair Dep. (ECF 107 at 239–46, JA237–
JA244) 8:20–25. Inspector Anthony Luca swore “the perimeter was already established[]” when
he arrived at the scene and “[t]he overpass was completely empty except for a few vehicles that
was down south of the location. . . . And the entire stretch of Woodhaven Road was also blocked
off as well.” Luca Dep. (ECF 107 at 272–82, JA270–JA280) 11:13–12:1. When asked whether he
believed the perimeter sufficiently kept bystanders out, he said yes. Id. 12:15–17.

Despite the perimeters in place there is some evidence one or more bystanders saw Mr. Boone
jump. Sergeant Rodden swore “[w]e have a bystander’s picture of him jumping.” Rodden Dep.
(ECF 107 at 292–310, JA290–JA308) 36:8–10. Ms. Brookins also swore witnesses to the incident
reached out to her afterward. Brookins Dep I (ECF 107 at 3–68, JA1–JA66) 194:11–200:10. But
it is unclear from the testimony whether they actually saw Mr. Boone on the ground, and in any
event, we cannot consider hearsay evidence on summary judgment. Smith v. City of Allentown,
                                                   63
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589 F.3d 684, 693 (3d Cir. 2009). We have no evidence corroborating Ms. Brookins’s statements
about the persons who may have seen the jump.

The map of the area and the officers’ testimony they blocked the roads intersecting the location
where Mr. Boone stood confirms all bystanders in nearby parking lots. The body cam footage
confirms the bystanders stood far enough away they could not hear Mr. Boone and he could not
hear them. See generally JA182. It appears on the map the closest parking lots to the overpass are
the Dunkin’ Donuts, which sits in front and to the left of the overpass when looking at the area
from an aerial view, and the TD Bank, which sits behind and to the left of the overpass. Both
parking lots are separated from the overpass by a grassy median strip with trees. While it is
certainly possible bystanders in the parking lots saw Mr. Boone standing on the overpass, and later,
jumping, it is far from clear whether those bystanders would have been able to see him once he hit
the ground. So we cannot agree the injuries to Mr. Boone occurred “on a public thoroughfare.”
ECF 105 at 15.
175
      See Marsh, 680 F.3d at 1154.
176
   Luzerne, 660 F.3d at 178 (citing C.N., 430 F.3d at 179; Fraternal Order of Police, 812 F.2d at
110).
177
      Id. (quoting Fraternal Order of Police, 812 F.3d at 110).
178
      Id. (citing C.N., 420 F.3d at 179–80).
179
      Marsh, 680 F.3d at 1155.
180
      ECF 105 at 18–19.
181
      ECF 117 at 19.
182
   Peroza-Benitez v. Smith, 994 F.3d 157, 165 (3d Cir. 2021) (citing Halsey v. Pfeiffer, 750 F.3d
273, 288 (3d Cir. 2014)).
183
   Rivas-Villegas v. Cortesluna, 595 U.S. 1, 5 (2021) (quoting White v. Pauly, 580 U.S. 73, 78–79
(2017)).
184
      Montemuro v. Jim Thorpe Area Sch. Dist., 99 F.4th 639, 645 (3d Cir. 2024).
185
      Mack v. Yost, 63 F.4th 211, 231 (3d Cir. 2023) (quoting Peroza-Benitez, 994 F.3d at 165).
186
      Rivas-Villegas, 595 U.S. at 7–8 (quoting Pauly, 580 U.S. at 79).
187
   District of Columbia v. Wesby, 583 U.S. 48, 66 n.8 (2018) (citing Reichle v. Howards, 566 U.S.
658, 665–666 (2012)).



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188
    Rivas-Villegas, 595 U.S. at 5 (“Even assuming that controlling Circuit precedent clearly
establishes law for purposes of § 1983, LaLonde did not give fair notice to Rivas-Villegas.”).

  James v. N.J. State Police, 957 F.3d 165, 170 (3d Cir. 2020) (first quoting Bland v. City of
189

Newark, 900 F.3d 77, 84 (3d Cir. 2018); then citing Wesby, 583 U.S. at 63)).
190
      Peroza-Benitez, 994 F.3d at 165–66.
191
      Mack, 63 F.4th at 228 (quoting Jefferson v. Lias, 21 F.4th 74, 81 (3d Cir. 2021)).

  City of Escondido, Cal. v. Emmons, 586 U.S. 38, 42 (2019) (quoting Kisela v. Hughes, 584 U.S.
192

100, 104 (2018)).
193
      Rivas-Villegas, 595 U.S. at 5–6 (quoting Brosseau v. Haugen, 543 U.S. 194, 198 (2004)).
194
      Schneyder v. Smith, 653 F.3d 313, 330 (3d Cir. 2011).
195
   Id. at 330 (first quoting K.H. ex rel. Murphy v. Morgan, 914 F.2d 846 (7th Cir. 1990); then citing
Safford Unified Sch. Dist. No. 1 v. Redding, 557 U.S. 364, 377 (2009)).
196
   ECF 105 at 18. An initial problem: Officer Culver’s framing of the constitutional right relies on
the erroneous premise Mr. Boone’s location before and at the time of the photo somehow impacts
Ms. Brookins’s privacy right.
197
      City of Escondido, 586 U.S. at 42 (quoting Kisela, 584 U.S. at 104).
198
      Id. at 42–43.
199
      Jefferson, 21 F.4th at 81.
200
      Id.
201
      Whalen, 429 U.S. at 599.
202
      ECF 105 at 18.
203
      Marsh, 680 F.3d at 1154.
204
    See Favish, 541 U.S. 157 (FOIA); Catsouras v. Dep’t of Cal. Highway Patrol, 104 Cal. Rptr.
3d 352 (Cal. Ct. App. 2010) (state law invasion of privacy); Sellers v. Henry, 329 S.W.2d 214 (Ky.
1959) (state law invasion of privacy); Melton v. Bd. of Cnty. Comm’rs of Hamilton Cnty., Ohio,
267 F. Supp. 2d 859 (S.D. Ohio 2003) (state law invasion of privacy); New York Times Co. v. Nat’l
Aeronautics & Space Admin., 782 F. Supp. 628 (D.D.C. 1991) (FOIA); The New York Times Co.
v. City of New York Fire Dep’t, 829 N.E.2d 266 (N.Y. 2005) (New York’s Freedom of Information
Law); Katz v. Nat’l Archives & Records Admin., 862 F. Supp. 476 (D.D.C. 1994) (FOIA).

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205
   Peroza-Benitez, 994 F.3d at 165 (quoting Fields v. City of Phila., 862 F.3d 353, 361 (3d Cir.
2017)).
206
    Lamorie v. Davis, 485 F. Supp. 3d 1065, 1070–73 (D. Ariz. 2020) (recognizing the right to
privacy in death images and the right to control a child’s remains where a Department of Child
Services investigator did not inform a father his daughter was removed from life support and
cremated but finding the investigator’s conduct did not shock the conscience because there was no
publication of an autopsy photo or mutilation of a body); Jones v. Jinparn, No. 19-2817, 2020 WL
999806, at *4 (N.D. Cal. Mar. 2, 2020) (recognizing the right to control the physical remains and
images of a deceased child where police released a body to a funeral home without contacting the
decedent’s heirs but finding the officer’s conduct did not shock the conscience); Roberts v. Bell,
281 F. Supp. 3d 1074, 1085 (D. Mont. 2018) (recognizing the right to privacy in death photographs
where a daughter sued a sheriff who took photographs of a car accident scene involving the
plaintiff’s mother and posted them on Facebook but finding the sheriff’s behavior did not shock
the conscience because a tarp covered the mother); Shelley v. Cnty. of San Joaquin, No. 13-266,
2017 WL 4547055, at *6–*8 (E.D. Cal. Oct. 12, 2017) (recognizing the right to control the remains
of a child where county exhumed remains of plaintiff’s daughter during excavation project and
finding plaintiff had “identified conduct which implicates behavior sufficiently conscience-
shocking to survive summary judgment”); Lee v. City of Seattle, No. 75815–2–I, 2018 WL
2203287, at *1 (Wash. Ct. App. May 14, 2018) (recognizing the right to privacy in death images
and affirming trial court order enjoining the city from releasing death scene photographs of Kurt
Cobain). But see Olejnik v. England, 147 F. Supp. 3d 763, 777–78 (W.D. Wis. 2015) (declining to
recognize the right to non-interference with a family’s remembrance of a decedent where medical
examiner took home human specimens to train a cadaver dog because “the Marsh holding
represents an expansion in substantive due process law not augured in Seventh Circuit precedent”
and because plaintiff family members’ privacy rights were not implicated as the medical examiner
did not publicly display information about the decedent’s death or autopsy); Pauly v. Vasquez, No.
15-783, 2016 WL 9443732, at *6 (D.N.M. Aug. 10, 2016) (discussing Marsh but finding qualified
immunity because the constitutional right was not clearly established in 2011 and Marsh, an
opinion from another circuit, could not clearly establish the law of the Tenth Circuit). We also
acknowledge Judge Golden’s 2007 analysis in Werner v. Cnty. of Northampton analyzing facts like
those before us, but the citizen in Werner did not bring a substantive due process privacy claim—
he brought other constitutional claims and a state law invasion of privacy claim. No. 07-1910,
2007 WL 4553702, at *2–*4 (E.D. Pa. Dec. 19, 2007).

  Doe v. Delie, 257 F.3d 309, 321 n.10 (3d Cir. 2001) (discussing Pro v. Donatucci, 81 F.3d 1283,
207

1288–89 (3d Cir. 1996)).
208
   Donatucci, 81 F.3d at 1288–89 (emphasis added) (“The court also relied on two district court
decisions within this circuit that have followed the approach of the Court of Appeals for the Fifth
Circuit.”).
209
   ECF 108 at 11. The City also moves for summary judgment on behalf of the named officers
arguing a lack of personal involvement, see id. at 9, but we need not address this argument as Ms.
Brookins in her opposition brief dismissed all individual officers besides Officer Culver from her
privacy claim. See ECF 119 at 2 n.1.
                                                66
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210
   Hargrove v. City of Phila., 671 F. Supp. 3d 595, 605 (E.D. Pa. 2023) (citing Monell v. Dep’t of
Soc. Servs. of City of N.Y., 436 U.S. 658, 691 (1978)).
211
      Id. (citing City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989)).
212
   Forrest v. Parry, 930 F.3d 93, 105 (3d Cir. 2019) (citing Estate of Roman v. City of Newark,
914 F.3d 789, 798–99 (3d Cir. 2019)).
213
      Id. at 105 (citation omitted) (quoting Estate of Roman, 914 F.3d at 798).
214
      See Forrest, 930 F.3d at 105.
215
    See ECF 119 at 17–24. The Police Department has a policy prohibiting use of cell phones at
crime scenes, but Ms. Brookins does not argue the policy itself is unconstitutional. She attaches
Philadelphia Police Department Directive 4.1 (“Responsibilities at Crime Scenes”) as one of her
exhibits. See ECF 119-7 (Directive 4.1, PA1480–1500) at 18. Under Section 1(F) of this policy,
privately-owned cell phones may “only be used in exigent circumstances whenever departmental
equipment is unavailable and there is no other means to record the item or event.” Id. We note the
effective date of the attached policy is June 17, 2022—three months after the March 18, 2022
incident with Mr. Boone. But the Philadelphia Police Department did have a crime scene policy in
place at the time of the incident because Lieutenant James Miller, who conducted the internal
affairs investigation, concluded Officer Culver “was sustained for a violation of a crime scene,
from taking photos at that crime scene[]” when asked whether Officer Culver violated police
directives. Miller Dep. (ECF 107 at 190–200, JA188–JA198) 18:21–19:2.

Officer Culver also swore he did not consider the scene of Mr. Boone’s body as a crime scene, so
the crime scene directive is inapplicable. Culver Dep. (ECF 107 at 137–48, JA 135–JA146) 26:3–
24. Ms. Brookins does not offer an argument based on this testimony.
216
      Forrest, 930 F.3d at 106.
217
   Connick v. Thompson, 563 U.S. 51, 62 (2011) (quoting Bd. of Cnty. Comm’rs of Bryan Cnty.,
Okla. v. Brown, 520 U.S. 397, 409 (1997)).
218
      Id. at 63–64 (quoting Bryan, 520 U.S. at 409).
219
   Colburn v. Upper Darby Twp., 946 F.2d 1017, 1028 (3d Cir. 1991) (alterations in original)
(quoting City of Canton, 489 U.S. at 391).
220
   Thomas v. Cumberland Cnty., 749 F.3d 217, 226 (3d Cir. 2014) (quoting Colburn, 946 F.2d at
1029–30).
221
      Id. (alteration in original) (quoting City of Canton, 489 U.S. at 391).
222
      City of Canton, 489 U.S. at 391.

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223
   Sacko v. Univ. of Pa., No. 14-831, 2014 WL 2547802, at *3 (E.D. Pa. June 6, 2014) (quoting
City of Canton, 489 U.S. at 390–91).
224
   ECF 108 at 10. We note it would typically be difficult for a party to show it is entitled to
summary judgment when it leaves inadvertent placeholders “(Insert a citation to any evidence of
public watching)” instead of citations to the record. Id.
225
   See supra Part II(A)(3). We are, however, perplexed by the City’s argument a parent only has a
privacy interest in the photo of a deceased child, and not the photo of a deceased adult, because
parents have the authority to restrict photos of minor children but not adult children. ECF 108 at
9. It is true parents cannot control photographs of their adult children, but if the adult child is
deceased, any autonomy the adult child once had over photos of himself is—obviously—gone.
226
      ECF 108 at 12.
227
      Id.
228
      Id. at 13.
229
      ECF 119 at 4, 23.
230
   See id. at 23–24. Ms. Brookins refers to her expert as “Dr. Thomas.” Id. at 23. Dr. Chapman in
fact wrote the expert report. See 119-6 (Expert Report, PA410–PA493) at 1–84.
231
      ECF 119 at 4.
232
      Rivera Dep. (ECF 107 at 368–77, JA366–JA375) 17:19–21.
233
      Id. at 17:24–18:15.
234
      Id. at 22:23–23:11.
235
      Id. at 23:12–15.
236
      Miller Dep. (ECF 107 at 190–200, JA188–JA198) 29:10–22.
237
      Culver Dep. (ECF 107 at 137–48, JA 135–JA146) 25:24–26:2.
238
      Id. 4:14–19.
239
      Clair Dep. (ECF 107 at 239–46, JA237–JA244) 14:18–23.
240
      Squares Dep. (ECF 107 at 255–61, JA253–259) 15:18–16:3.
241
      Andrews Dep. (ECF 107 at 336–67, JA334–JA365) 10:4–16.

                                                68
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242
      Singletary Dep. (ECF 107 at 262–71, JA260–JA269) 24:7–20.
243
      Luca Dep. (ECF 107 at 272–82, JA270–JA280) 26:4–9.
244
      Rovnan Dep. (ECF 107 at 324–35, JA322–JA333) 35:17.
245
    Colburn, 946 F.2d at 1030. Our Court of Appeals in Colburn found a township policy “was not
unmindful of the risk of detainee suicide; nor did its training program fail to communicate to its
custodians the importance of suicide prevention.” Id. Rather, “everyone associated with the jail
knew . . . the City’s policy” and the implementation of the policy was “relatively efficacious[.]”
Id.
246
      Bachmayer Dep. (ECF 107 at 106–17, JA104–JA115) 13:13–14:6.
247
      Deblasis Dep. (ECF 107 at 283–91, JA281–JA 289) 18:4–19.
248
      Rovnan Dep. (ECF 107 at 324–35, JA322–JA333) 33:9–11, 24–25.
249
      Id. 33:18–20.
250
      Luca Dep. (ECF 107 at 272–82, JA270–JA280) 26:16–21.
251
      Id. 27:13–25.
252
      Andrews Dep. (ECF 107 at 336–67, JA334–JA365) 9:23–10:2.
253
      Jordan v. Penn. State Univ., 276 A.3d 751, 775 (Pa. Super. Ct. 2022).
254
      ECF 105 at 26.
255
      Id.
256
      ECF 117 at 20.
257
      Id. at 21.
258
      ECF 121 at 7-9.
259
      527 A.2d 988 (Pa. 1987).
260
      Id. at 995.
261
      Id.
262
      ECF 121 at 7.

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263
      Gray v. Huntzinger, 147 A.3d 924, 929 n.4 (Pa. Super. Ct. 2016).
264
      ECF 117 at 21.
265
      Brenner v. Consolidated Rail Corp., 806 F. Supp. 2d 786, 791 (E.D. Pa. 2011).
266
      Id. at 790 & n.4.
267
      Id. at 790 n.4.
268
      Id. at 790.
269
      Id. at 790–91.
270
      Id. at 791.
271
      Id. at 790 n.4.
272
      Schweikert v. Eagle, No. 20-4310, 2022 WL 394751, at *4–*6 (E.D. Pa. Feb. 9, 2022).
273
      Id. at *4.
274
      Id.
275
   Id. (first citing Evans v. Capital Blue Cross, No. 19-497, 2021 WL 825764, at *6 (M.D. Pa.
March 4, 2021); then citing Mracek v. Bryn Mawr Hosp., 610 F. Supp. 2d 401, 406 (E.D. Pa.
2009)).
276
   Id. (quoting Pease v. Lycoming Engines, No. 10-843, 2012 WL 162551 at *13 (M.D. Pa. Jan.
19, 2012)).
277
      Id. (quoting Pease, 2012 WL 162551 at *13).
278
      Id. (quoting Pease, 2012 WL 162551 at *13).
279
      Celotex, 477 U.S. at 325.
280
      ECF 105 at 26.
281
   Fed. R. Civ. P. 56(c)(1)(A); Willis, 808 F.3d at 643 (once the moving party demonstrates the
record presents no genuine issue of material fact, the nonmoving party must identify facts in the
record enabling her to make a sufficient showing on essential elements of her case for which she
has the burden of proof).
282
   Because we conclude Ms. Brookins does not meet her burden on the causation requirement, we
need not address Officer Culver’s second argument his conduct is not “outrageous.” But we note
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there are few things we can think of more outrageous than a police officer taking a photograph of
a near-dead individual post suicide attempt and circulating this private photo amongst friends in
his police department. He demonstrated a complete lack of judgment and discretion we expect in
our police.
283
      ECF 77.
284
    ECF 86; ECF 94 at 11–14. If proven, the fraudulent concealment doctrine equitably tolls the
statute of limitations on Ms. Brookins’s claims challenging the actions on the overpass although
the claims do not relate back to her initial Complaint under Federal Rule of Civil Procedure 15.
285
      ECF 108 at 15.
286
   Molineux v. Reed, 532 A.2d 792, 794 (Pa. 1987) (quoting Schaffer v. Larzelere, 189 A.2d 267,
269 (1963)).

  Id. (first citing Walters v. Ditzler, 227 A.2d 833, 835 (1967); then citing Nesbitt v. Erie Coach
287

Co., 204 A.2d 473, 476 (1964)).
288
   Krapf v. St. Luke’s Hosp., 4 A.3d 642, 650 (2010) (alterations in original) (quoting Lange v.
Burd, 800 A.2d 336, 339 (Pa. Super. Ct. 2002)).
289
      Id. (citing Lange, 800 A.2d at 339).
290
      Molineux, 532 A.2d at 794 (citing Schaffer, 189 A.2d at 269).
291
   Id. (“[T]he burden of proving such fraud or concealment, by evidence which is clear, precise
and convincing, is upon the asserting party.” (citing Nesbitt, 204 A.2d at 475)).
292
      Krapf, 4 A.3d at 650 (quoting Fine v. Checcio, 870 A.2d 850, 860 (Pa. 2005)).
293
      ECF 108 at 15.
294
      Id. at 15.
295
      Id. at 15–16.
296
      Id. at 16.
297
      Id. at 16.
298
      ECF 119 at 11.
299
      Id. at 7–10.
300
      Id. at 10.
                                                  71
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301
      Id. at 11; ECF 106 (SUMF) ¶ 62.
302
      ECF 119 at 10.
303
    The Pennsylvania Supreme Court directs “it is for the jury to say whether the remarks that are
alleged to constitute the fraud or concealment were made.” Krapf, 4 A.3d at 650 (quoting Fine,
870 A.2d at 860).
304
   ECF 119 at 8–10. The City asserts an argument in its reply brief about the illegality of the
recorded conversation with Lieutenant Seamen, see ECF 127 at 4–5, but we find it unnecessary to
reach this issue because our holding on fraudulent concealment does not concern Lieutenant
Seamen.
305
    The City argues fraudulent concealment requires each individual state actor actively mislead
Ms. Brookins. ECF 108 at 15; ECF 127 at 4. This argument is unpersuasive because Ms. Brookins
also sued the City—not just Defendants Luca and Walsh—for causing state-created danger, ECF
93 ¶¶ 162–75, and Ms. Brookins swore city employees (officers and personnel) lied about the
footage. We do not find it consequential the claims against the City are brought under Monell. We
think our approach is consistent with Pennsylvania courts. For example, in Krapf v. St. Luke’s
Hospital, the estates of five deceased hospital patients sued the hospital and a nurse named Charles
Cullen under the wrongful death and survivor acts. 4 A.3d 642 (Pa. Super. Ct. 2010). The
Pennsylvania Superior Court affirmed the denial of summary judgment holding the hospital’s
misleading death certificates offered clear and convincing evidence of fraudulent concealment
sufficient to toll the statute of limitations. Id. at 650–54. Neither the trial court nor the superior
court required the plaintiffs produce separate evidence showing Nurse Cullen fraudulently
concealed the causes of death.
306
      610 F.2d 1157, 1162 (3d Cir. 1979).
307
      Id. at 1161–62 (citing Nesbitt, 204 A.2d at 476).
308
      Id. at 1162.
309
      Id. at 1163.
310
   Even if the City’s position is that only officers who wear body cameras have permission to give
the footage to members of the public—which is implied but not entirely clear from the City’s
briefing—this argument strains credulity and has no support in the record. See ECF 108 at 16
(“[E]ven if she requested BWC [body worn camera footage] from specific Defendant Officers,
there was no BWC that could have been provided to Plaintiff because they did not exist.”).
311
      ECF 118 (Brookins CUMF) ¶ 13.
312
      ECF 1.

                                                   72
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313
      ECF 108 at 15–16.
314
    ECF 119-7 (Brookins Notes, PA1502–PA1507) at 39. Ms. Brookins’s Counterstatement of
Undisputed Material Facts to the City misrepresents what Ms. Brookins wrote in her own notes
from the phone call. Ms. Brookins’s notes indicate Detective Walsh told her “Marcus’s therapist
was on the phone with Marcus trying to help get him down.” Id. (emphasis added). By contrast,
Ms. Brookins in her CUMF to the City states, “Detective Walsh told Ms. Brookins that he had the
therapist from Gaudenzia House on the phone but ‘Marcus refused to comply and would not speak
to the therapist.” ECF 119-2 (Pl.’s CUMF to City) ¶ 81. Ms. Brookins in her CUMF cites to Ms.
Brookins’s typed notes at PA1502 (which, as we just noted, say something different entirely). Ms.
Brookins’s CUMF also contradicts her deposition testimony where she swore Detective Walsh
“told [her] that he allowed [her] son to talk to his therapist at Gaudenzia House.” Brookins Dep. I
(ECF 107 at 3–68, JA1–JA66) 119:10–11. We attribute this discrepancy in the CUMF to a mistake
by Ms. Brookins’s counsel. Indeed, during oral argument, Ms. Brookins’s counsel represented the
record did not reflect Detective Walsh ever told Ms. Brookins Therapist Raysor spoke to Mr.
Boone.

  There is no dispute, however, as to whether Therapist Raysor actually spoke to Mr. Boone. The
315

body camera footage does not show Mr. Boone taking a phone call at any point on the bridge.
316
      Walsh Dep. (ECF 107 at 118–36, JA116–JA134) 66:2–22.
317
      ECF 119 at 16–17.
318
    Ms. Brookins’s counsel adduced facts suggesting the officers refused to let Mr. Boone’s
therapist speak to him during discovery this Fall from the body camera footage produced on August
20, 2024 and/or from deposing the officers.
319
   Although Ms. Brookins learned body camera footage existed in April 2024, she would not have
known of the substantive due process claim arising from the officers’ overpass conduct until she
received the footage in August 2024. We acknowledge eyewitnesses informed Ms. Brookins
shortly after the incident police appeared to be arguing with Mr. Boone on the overpass. ECF 106
(Culver SUMF) ¶¶ 51–52; ECF 118 (Brookins Resp. to Culver SUMF) ¶¶ 51–52. But we have no
basis to find Ms. Brookins could have known she had a claim arising from pre-harm conduct until
she knew what the officers and Mr. Boone acted during their few hours together.
320
      ECF 108 at 17.
321
      ECF 119 at 15–17.
322
      Bright v. Westmoreland Cnty., 443 F.3d 276, 281 (3d Cir. 2006).
323
      Id. (quoting Schieber v. City of Phila., 320 F.3d 409, 416 (3d Cir. 2003)).
324
      Id.

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325
   Sanford v. Stiles, 456 F.3d 298, 304 (3d Cir. 2006) (citing Kneipp v. Tedder, 95 F.3d 1199, 1205
(3d Cir.1996)).
326
      Bright, 443 F.3d at 281.
327
    Kedra v. Schroeter, 876 F.3d 424, 437 (3d Cir. 2017) (first alteration in original) (quoting Vargas
v. City of Phila., 783 F.3d 962, 973 (3d Cir. 2015)).
328
      Sanford, 456 F.3d at 309.
329
      Id. at 309–10.
330
      Kedra, 876 F.3d at 437 (quoting Sanford, 456 F.3d at 310).
331
   We are assisted by a recent law review article helpfully collecting and discussing many of the
cases on state-created danger in the suicide context. Brittany White, The Law’s Role in Ending the
Suicide Crisis: Liability for Suicide Under the State-Created Danger Doctrine, 75 SMU L. REV.
887 (2022).
332
      456 F.3d 298 (3d Cir. 2006).
333
      Id. at 301 (emphasis removed).
334
      Id. at 302.
335
      Id.
336
      Id.
337
      Id.
338
      Id.
339
      Id.
340
      Id. at 303.
341
      Id. at 304–12.
342
      Id. at 309–11.
343
      Id. at 311.
344
      Id.
345
      Id. at 312 (quoting Bright, 443 F.3d at 284).
                                                      74
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346
      159 F.3d 1253 (10th Cir. 1998).
347
      Gray v. Univ. of Colo. Hosp. Auth., 672 F.3d 909, 918 (10th Cir. 2012).
348
      Armijo, 159 F.3d at 1256.
349
      Id.
350
      Id. at 1257.
351
      Id. at 1256–57.
352
      Id. at 1257.
353
      Id.
354
      Id. at 1260–64.
355
      Id. at 1264.
356
      885 F.3d 170, 174 (3d Cir. 2018).
357
      Id.
358
      Id.
359
      Id.
360
      Id. (first alteration in original).
361
      Id.
362
      Id. at 174–75.
363
      Id. at 177.
364
      Id. at 178.
365
   Wilson v. Gregory, 3 F.4th 844, 859 (6th Cir. 2021) (first citing Cutlip v. City of Toledo, 488
Fed. App’x 107, 115 (6th Cir. 2012); then citing Jahn v. Farnsworth, 617 Fed. App’x 453, 463 (6th
Cir. 2015)).
366
      488 F. App’x 107, 108–09 (6th Cir. 2012).
367
      Id. at 109–10.
                                                   75
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368
      Id. at 110.
369
      Id.
370
      Id.
371
      Id.
372
      Id.
373
      Id. at 110–11.
374
      Id. at 115–16.
375
      Id. at 116.
376
      Id. at 117.
377
      Id. at 117–18.
378
      Id. at 118.
379
      Id. at 119.
380
      Id.
381
      Id.
382
      175 F.3d 68, 69–70 (1st Cir. 1999).
383
      Id. at 73.
384
      659 F.3d 37, 38–39 (1st Cir. 2011).
385
      Id. at 39.
386
      Id. at 40.
387
   Martin v. Shawano-Gresham Sch. Dist., 295 F.3d 701, 704–05 (7th Cir. 2002); Collignon v.
Milwaukee Cnty., 163 F.3d 982, 984 (7th Cir. 1998).
388
      Martin, 295 F.3d at 710–11 (comparing case to Collignon).
389
      Id. at 710–11.

                                                76
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390
      Collignon, 163 F.3d at 992.
391
      Wyke v. Polk Cnty. Sch. Bd., 129 F.3d 560, 563–64 (11th Cir. 1997).
392
      Id. at 564.
393
      Id.
394
      Id.
395
      Id. at 565.
396
      Id. at 569.
397
      Id. at 570.
398
      Id. (collecting cases).
399
      ECF 119 at 15–17.
400
      See ECF 119-7 (Raysor Aff., PA1554–PA1556) at 91–93; see also ECF 127 at 8.
401
      Walsh Dep. (ECF 107 at 118–36, JA116–JA134) 47:22–48:14.
402
    ECF 119-7 (Raysor Aff., PA1554–PA1556) at 92 ¶¶ 13–18. There is also a third version of
events—reflected in Ms. Brookins’s notes taken contemporaneously during her call with Detective
Walsh and in her deposition testimony—suggesting Detective Walsh actually put Therapist Raysor
on the phone with Mr. Boone. See supra notes 314–16 and accompanying text. But although this
third version of events is relevant to fraudulent concealment, it is not relevant to the merits of the
state-created danger claim, as the body camera footage establishes Mr. Boone did not speak on the
phone to anyone while he stood on the bridge.
403
    “When contradictory, material facts are presented, a genuine dispute is raised and undercuts a
decision for summary judgment.” Rockwell Automation, Inc. v. Radwell Int’l, Inc., 416 F. Supp.
3d 366, 371 (D.N.J. 2019). “However, even with a presentation of contradictory facts, there can
be no genuine dispute when one party fails ‘to make a showing sufficient to establish the existence
of an element essential to that party’s case, and on which that party will bear the burden of proof
at trial.’” Id. (quoting Celotex, 477 U.S. at 322–23). “When the movant has completely failed to
show an essential element of its case, all other facts are immaterial.” Id. (first citing Celotex, 477
U.S. at 323; then citing Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3d Cir. 1992)).
404
      Bright v. Westmoreland Cnty., 443 F.3d 276, 281 (3d Cir. 2006).
405
   Does v. Se. Delco Sch. Dist., 272 F. Supp. 3d 656, 682 (E.D. Pa. 2017) (alterations in original)
(quoting Bright, 443 F.3d at 282).

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406
      Bright, 443 F.3d at 282.
407
      Kaucher v. Cnty. of Bucks, 455 F.3d 418, 432 (3d Cir. 2006).
408
      Id.
409
      Id.
410
   Cf. Est. of Smith v. Marasco, 318 F.3d 497, 510 (3d Cir. 2003) (quoting Kneipp, 95 F.3d at
1209).
411
      Wyke, 129 F.3d at 570.
412
      Sanford, 456 F.3d at 302, 312.
413
    Cf. Christiansen v. City of Tulsa, 332 F.3d 1270, 1282 (10th Cir. 2003) (considering whether
police officers intended to place suicidal individual at unreasonable risk of harm under state-
created danger doctrine when officers told psychiatrist not to contact suicidal individual during his
mental health crisis and concluding the officers “had some justification for their actions” because
third-party contacts may have frustrated the negotiation efforts). No party raises a justification
defense in this case nor would it affect our decision because we cannot conclude Detective Walsh’s
alleged decision not to allow Therapist Raysor speak to Mr. Boone created a danger.
414
    Cf. Haberle, 885 F.3d at 175 n.5 (emphasis added) (“A ‘state-created danger’ may exist where
a state actor either creates a harmful situation or increases a citizen’s exposure or vulnerability to
an already-present danger.” (citing Bright, 443 F.3d at 281–82)); see also Coscia, 659 F.3d at 41
(“So far as it appears from the complaint, when the police released the decedent they ‘placed him
in no worse position than that in which he would have been had they not acted at all . . . .’” (quoting
DeShaney, 489 U.S. at 201)).
415
   It is not clear from the record exactly when the police spoke to Therapist Raysor, but Detective
Walsh referenced the phone call approximately thirty minutes before Mr. Boone jumped, so the
call took place sometime before then. ECF 119-2 (Pl.’s CUMF to City) ¶ 64; Video Exhibit 1 to
ECF 107 (Body Camera Footage, JA182) at 2:02:40–45.
416
      Does v. Se. Delco Sch. Dist., 272 F. Supp. 3d 656, 683 (E.D. Pa. 2017).
417
      See generally Video Exhibit 1 to ECF 107 (Body Camera Footage, JA182).
418
      ECF 119 at 17; ECF 127 at 8.
419
      Bright, 443 F.3d at 281.
420
      Haberle, 885 F.3d at 177.



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421
   United Artists Theatre Cir., Inc. v. Twp. of Warrington, Pa., 316 F.3d 392, 399–400 (3d Cir.
2003).
422
   For instance, we would have a closer question if Detective Walsh told Mr. Boone he was
enjoying himself watching Mr. Boone go through this crisis.
423
      ECF 119 at 15.
424
      Id.
425
      Id.
426
   See Est. of Ramos ex rel. DeJesus v. City of Lancaster, 705 F. App’x 79, 83 (3d Cir. 2017)
(“Because of the absence of an underlying constitutional violation, Defendants were also entitled
to summary judgment on the wrongful death and survival claims (which were premised on
constitutional—and not state law—grounds).”).
427
      ECF 108 at 11.
428
    Donahue v. Borough of Collingdale, 714 F. Supp. 3d 504, 516 (E.D. Pa. 2024) (quoting Canton
v. Harris, 489 U.S. 378, 388 (1989)).
429
    Donahue v. Borough of Collingdale, 714 F. Supp. 3d 504, 517 n.20 (E.D. Pa. 2024) (citing
Collins v. City of Harker Heights, Tex., 503 U.S. 115, 123 (1992)). We need not address the “legal
grafting approach[ing] tautology” Judge Baylson discussed in Donahue, as we can decide this
claim on the first prong alone. Id.




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